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                               EXHIBIT E
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                       CASE ATTACHMENT COVER PAGE                                           (ENDORSED)
                                                                                    ELECTRONICALLY
SUPERIOR COURT OF CALIFORNIA,               COUNTY   OF SAN BERNARDINO                         FILED
   STREET AOORESS 247     West Third Street
 MAILING AOORE'SS                                                                  BY SUPERIOR COURT
 CITY ANO ZIP CODE'   San Bernardino, CA 92415                               OF CALIFORNIA, COUNTY OF
      BRANCH   NAME:San Bernardino Justice Center                                          San Bernardino
           WEBSITE:h t tp:   //WWW. sb-cour t. org                                     on May 3, 2021
                                                                            CLERK OF THE SUPERIOR COURT
 AiTACHMt"ITNAME      Motton: Motion for Leave to File First Amended
                      Complaint                                            Depult Gle,/,    Liliana Mariscal

 CASE NAME   David Walker vs. Howmet Aerospace, Inc., et al.             CASE NUMBER

                                                                                           C r'JDS20   :u11

                      Please log on to www.TurboCourt.com regularly for updates

                             Please staple this to your original attachment
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 9   DAVID WALKER
10                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
11                                 COUNTY OF SAN BERNARDINO
12
13   DAVID WALKER, an individual, on behalf of               Case No. CIVDS2022311
     himself and all others similarly situated,
14                                                           [Assigned for all purposes to Hon. David
                    Plaintiffs,                              Cohn, Dept. S-26]
15
            vs.                                              PLAINTIFF DAVID WALKER'S
16                                                           NOTICE OF MOTION AND MOTION
     HOWMET AEROSPACE, INC., a Delaware                      FOR LEAVE TO FILE FIRST
17   corporation; SCHLOSSER FORGE                            AMENDED COMPLAINT
     COMPANY, a Delaware corporation; and
18   DOES 1-50,
                                                             [Filed concurrently with Declaration of
19                  Defendants.                              Jeremy F. Bollinger and [Proposed]
                                                             Order]
20
                                                             Date: June 7, 2021
21                                                           Time: 10:00 am
                                                             Dept: S-26
22
23                                                           Action Filed: October 13, 2020

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               PLAINTIFF'S NOTICE OF MOTION AND MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
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 1            TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD HEREIN:
 2            PLEASE TAKE NOTICE that on June 7, 2021 , at 10:00 a.m ., in Department S-26 of the
 3   above-entitled comt, located at 247 West Third Street, San Bernardino, CA 92415, Plaintiff David
 4   Walker will move the cou1t for an order granting Plaintiff leave to file his First Amended
 5   Complaint and that the proposed First Amended Complaint submitted with this Motion be deemed
 6
     filed.
 7
              The proposed First Amended Complaint seeks to add eight new causes of action, as
 8
     foJlows: (1) failure to pay minimum wages, (2) failure to pay overtime wages, (3) faiJure to provide
 9
     adequate meal periods, (4) failure to allow rest periods, (5) failure to furnish accurate itemized
10
     wage statements, (6) failure to timely pay all wages upon cessation of employment, (7) failure to
11
     reimburse business expenses, and (8) unfair competition. The proposed amended complaint also
12
     omits all allegations related to Plaintiff's claim for PAGA penalties based on Defendants' alleged
13
     failure to factor nond iscretionary incentive pay into the regular rate ofpay for payment ofovertime.
14
15            Pursuant to California Rules of Court 3.1324(a)(l), a copy of Plaintiff's proposed First

16   Amended Complaint is attached hereto as Exhibit "l". In compliance with the requirements of

17   California Rules of Court 3. l 324(a)(2-3), a red-lined version of the First Amended Complaint is

18   attached hereto as Exhibit "2" showing the pages, paragraphs and lines in which the changes were

19   made.

20            This Motion is fu1ther based on this Notice, the accompanying Memorandum of Points and
21   Authorities, the Declaration of Jeremy F. Bollinger, the files and records in this action, and on such
22   oral and documentary evidence as may be presented at the hearing on this motion.
23
24   DATED: April 28, 2021                                    MOSS BOLLINGER, LLP

25
26
                                                              Jeremy F Bollinger
27                                                            Attorneys for Plaintiff
28                                                            DAVID WALKER



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 1                                         TABLE OF AUTHORITIES

 2
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 4   A.N v. Cnty. of Los Angeles (2009) 171 Cal. App. 4th 1058 -------------------------------------------- 3

 5   Brown v. Ralphs Grocery Co. (2018) 28 Cal. App. 5th 824 -------------------------------------------- 8

 6   Kemp v. Int'! Bus. Machines Corp. (N.D. Cal. Apr. 6, 2011) No. C-09-3683 MHP, 2011 WL

 7     13153248 ----------------------------------------------------------------------------------------------------- 8

 8   Kittredge Sports Co. v. Super. Ct. (1989) 213 Cal. App. 3d 1045 ---------------------------------- 4, 7

 9   Laabs v. City of Victorville (2008) 163 Cal. App. 4th l 242--------------------------------------------- 7

10   Magpali v. Farmers Group, Inc. (1996) 48 Cal. App. 4th 4 71 ----------------------------------------- 6

11   Mesler v. Bragg Mgmt. Co. (1985) 39 Cal. 3d 290------------------------------------------------------- 3

12   Morgan v. Super. Ct. (1959) 172 Cal. App. 2d 527------------------------------------------------ 3, 4, 7

13   Norgart v. Upjohn Co. (1999) 21 Cal. 4th 383------------------------------------------------------------ 8

14   Stewart v. Arconic Global Fasteners & Rings, Orange County Superior Court Case No. 30-2018-

15     0096813 7-CU-O E-CX C ----------------------------------------------------------------------------------- 2

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 1                       MEMORANDUM OF POINTS AND AUTHORITIES

 2     I.   INTRODUCTION
 3          Plaintiff seeks leave to file the proposed First Amended Complaint pursuant to California
 4   Code of Civil Procedure section 473(a)(l). "Clean" and "red-lined" versions of the proposed First
 5   Amended Complaint, identified as Exhibits 1 and 2, respectively, are provided herewith.
 6
            No trial date has been set in the matter, and no prejudice will result from the proposed
 7
     amendment, which is solely intended to add class claims based on facts already pleaded. Because
 8
     granting the requested leave will not cause prejudice to any party, and denial of the Motion will
 9
     unfairly prejudice Plaintiff, the Motion should be granted.
10
      II.   STATEMENT OF FACTS AND PROCEDURAL HISTORY
11
                A. Plaintifrs Original Complaint
12
            Plaintiff David Walker ("Plaintiff') was hired by Defendants as a non-exempt hourly paid
13
     grinder at its facility in Rancho Cucamonga, California, in or around 2017, until he was laid off in
14
     the summer of 2020. Defendant Howmet Aerospace, Inc. ("Howmet") is an aerospace company
15
16   that manufactures components for jet engines, fasteners and titanium structures for aerospace

17   applications. On October 13, 2020, Plaintiff filed a complaint against Defendant in this Court,

18   alleging claims for civil penalties under California Private Attorneys General Act, Labor Code

19   sections 2698 et seq. ("PAGA") based on violations of the California Labor Code for unpaid

20   minimum wages, unpaid ove1iime, failure to provide second meal periods, failure to pay meal and

21   rest break premium at the correct regular rate, failure to provide accurate itemized wage statements,
22   failure to timely pay all wages earned upon cessation of employment, and failure to indemnify
23   employees for all necessary expenditures.
24          The claims alleged were based on Defendants' following practices: requiring Plaintiff and
25   other similarly situated aggrieved employees to work before the start of their shifts to don
26
     protective clothing and gear that was necessary for them to perform their work; failure to include
27
     the amount of non-discretionary incentive pay (such as bonuses and shift differentials) when
28
     calculating Plaintiff's regular rate of pay for the payment of ove1iime and when calculating

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 1   Plaintiff's regular rate of pay for any break premium payments Defendants paid for meal and rest
 2   break violations; failing to reimburse Plaintiff and others purchases of safety boots and N95 masks.
 3           No trial date has been set in this action, nor has a party requested that the Court set a trial
 4   date.
 5           Plaintiff provided Defendants' counsel a copy of a draft of the proposed First Amended
 6
     Complaint (FAC) on April 19, 2021, and asked Defendants to stipulate to the filing of the FAC.
 7
     (Declaration of Jeremy F. Bollinger ["Bollinger Deel."]         ~   2, Exh. A.) On April 21, 2021,
 8
     Defendants' counsel sent Plaintiff's counsel an email stating, "We are not going to stipulate to the
 9
     filing ofa first amended complaint in this action." (Id., Exh. A at April 21, 2021 10:47 AM.)
10
                 B. The Proposed Amendments
11
             The proposed amendments eliminate all allegations related to one theory of liability for
12
     PAGA penalties based on unpaid overtime 1 and add eight new causes of action based on the exact
13
     same facts that formed the basis of Plaintiff's PAGA claims alleged in the original complaint. The
14
     new causes of action allege class claims for: (1) failure to pay minimum wages, (2) failure to pay
15
16   ove11ime wages, (3) failure to provide adequate meal periods, (4) failure to allow rest periods, (5)

17   failure to furnish accurate itemized wage statements, (6) failure to timely pay all wages upon

18   cessation of employment, (7) failure to reimburse business expenses, and (8) unfair competition.

19   The FAC also is amended to assert the basis for this Court's jurisdiction over the new causes of

20   action. (See Exhibit 2 hereto; see also Bollinger Deel.~ 3.)
21           As the eight new causes or action are brought on a class basis, the FAC adds a section
22   entitled "Class Definitions and Class Allegations" in which it defines the alleged classes that
23   Plaintiff seeks to represent and sets out the basis for maintaining a class action pursuant to the
24
25   1
       The claim for PAGA penalties based on Defendants' failure to include the amount of non-
     discretionary incentive pay when calculating aggrieved employees' regular rate of pay for the
26   payment of ove11ime is covered by a previously filed PAGA action entitled Stewart v. Arconic
27   Global Fasteners & Rings, Orange County Superior Com1 Case No. 30-2018-00968137-CU-OE-
     CXC. Accordingly, Plaintiff has omitted that theory in his proposed amended complaint. However,
28   Plaintiff maintains his separate theory of liability for unpaid overtime based on off the clock
     donning of protective clothing and gear that was not alleged in the Stewart Action. (Bollinger Deel.
     ~ 3.)
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 1 provisions of California Code of Civil Procedure § 382. (See Exhibit 2 hereto; see also Bollinger
 2   Deel. ,r 4.)
 3           The FAC also amends the prayer for relief to request relief for each of the eight new causes
 4   of action and for an order certifying the classes and confirming Plaintiff as the representative of
 5   the classes and counsel for Plaintiff as Class counsel. (See Exhibit 2 hereto; see also Bollinger
 6
     Deel. ,r 5.)
 7
             The FAC does not propose any amendments to the factual background section or to the
 8
     first cause of action alleging claims under PAGA.
 9
     III.    ARGUMENT
10
                    A. Relevant Law
11
             "The court may, in fmtherance of justice, and on any terms as may be proper, allow a party
12
     t~ amend any pleading[.]" Cal. Civ. Proc. Code§ 473(a)(l); see also Cal. Civ. Proc. Code§ 576
13
     ("Any judge, at any time before or after commencement of trial, in the furtherance of justice, and
14
15   upon such terms as may be proper, may allow the amendment of any pleading."). "There is a strong

16   policy in favor of liberal allowance of amendments." Mesler v. Bragg Mgmt. Co. (1985) 39 Cal.

17   3d 290, 296. If the granting of a timely motion for leave to amend "will not prejudice the opposing

18   paity, it is error to refuse permission to amend, and where the refusal also results in a party being

19   deprived of the right to assert a meritorious cause of action[;] it is not only error but an abuse of

20   discretion." Morgan v. Super. Ct. (1959) 172 Cal. App. 2d 527, 530 (finding that the trial court
21   acted arbitrarily and abused its discretion when it denied a motion for leave to file an amended
22   complaint that was filed before a trial date had been set).
23           In some instances, leave to amend a complaint will be denied ifthere was an unreasonable
24
     delay in seeking leave, and where, as a result of that delay, granting leave would prejudice the
25
     defendant. See A.N v. Cnty. of Los Angeles (2009) 171 Cal. App. 4th 1058, 1068. But even
26
     unreasonable delay does not justify denial of leave when leave is sought well before trial and the
27
     proposed amendment only concerns the introduction of new legal theories that "relate to the same
28
     general set of facts" previously pleaded. See Kittredge Sports Co. v. Super. Ct. (1989) 213 Cal.

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 1   App. 3d 1045, 1048 (citation omitted); accord Morgan, 172 Cal. App. 2d at 530. "[I]t is a rare case
 2   in which a court will be justified in refusing a party leave to amend his pleadings so that he may
 3   properly present his case." Morgan, 172 Cal. App. 2d at 530 (citations omitted) (internal quotation
 4   marks omitted).
 5              B. The Motion Should Be Granted Because Leave to Amend Was Timely Sought
 6
                    and Because Defendants Will Not Be Prejudiced If the Motion Is Granted.
 7
            Plaintiff delayed bringing his class claims (which are based on the same factual predicate
 8
     as his filed PAGA claims) until he could confirm that no arbitration agreement existed between the
 9
     pmiies that would preclude Plaintiff from filing his class claims in court. To that end, after the
10
     Court lifted the stay following the Initial Case Management Conference, Plaintiff propounded a
11
     request for production of documents on Defendant Howmet Aerospace, Inc. ("Howmet") seeking
12
     copies of all documents in his employment file as well as all documents referencing Plaintiff during
13
     his employment by Howmet. (Bollinger Deel. 16.) Plaintiff hoped to confirm in a verified response
14
15   from Howmet that Defendants had no documented agreements that would obligate Plaintiff to

16   arbitrate his proposed claims. (Id.)

17          On March 1, 2021, Howmet served its responses to Plaintiff's document requests. In those

18   responses, Howmet stated: "This action (and any discovery) should be stayed pending the final

19   approval of the class settlement in the Stewart Action and the Responding Party objects to

20   providing any documents until the issue of the stay is resolved." Accordingly, Howmet said it
21   would only produce the requested documents after the issue of a stay was resolved: "Subject to
22   and without waiving the foregoing objections and specifically reserving the same, and only to the
23   extent the matter is not stayed and particular claims are not precluded, Responding Party
24   responds as follows: Responding Party will produce non-privileged and otherwise non-
25
     objectionable documents responsive to this Request to the extent they exist and subject to a
26
     stipulated protective order." (Bollinger Deel. 17 [emphasis added].)
27
            The Stewart Action is a separately filed class action lawsuit that alleges some but not all of
28
     the claims alleged in this lawsuit. Unlike this lawsuit, the Stewart plaintiff did not allege claims

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 1   for unpaid minimum wages, failure to provide meal periods, waiting time penalties or non-
 2   reimbursement of business expenses. While the Stewart plaintiff alleged claims for unpaid
 3   overtime and rest break violations, the Stewart Action did not include all of the same theories of
 4   liability as Plaintiff Walker. For example, Stewart alleged that he was denied third rest breaks on
 5   shifts over 10 hours and was not paid rest break premiums for those violations whereas Plaintiff
 6
     Walker alleges that Defendant failed to correctly calculate the rest break premiums that Defendants
 7
     actually paid him. (Bollinger Deel.~ 8.) Likewise, Stewart's unpaid overtime claim is based solely
 8
     on the theory that Defendants failed to factor bonuses into the overtime rate whereas Plaintiff
 9
     Walker also alleges that Defendants failed to pay him and others who were required to wear
10
     protective clothing and gear for the time it took them to don that gear before the start of their shifts.
11
     (Id.) The proposed FAC omits the one overlapping theory ofliability for unpaid overtime.
12
                 Plaintiff's counsel proceeded to meet and confer with Defendants' counsel regarding
13
     Howmet's refusal to produce the responsive documents based on a potential settlement in the
14
     Stewart Action. (Bollinger Deel.        ~   9.) Then, on April 5, 2021, Defendant's Counsel emailed
15
16   Plaintiff's Counsel to info1m him that "all of the claims in the instant lawsuit you filed are being

17   actively discussed as pa11 of the Stewart settlement" and on Friday, April 16, 2021, the parties to

18   the Stewart Action filed a pleading in the Stewart Action stating:

19               The Parties are also still engaged in discussions regarding Plaintiff's intention to
                 submit an amended Notice to the Labor Workforce Development Agency and file a
20               second amended complaint adding PAGA/class claims. The Parties anticipate
21               finalizing said discussion and filing a stipulation and proposed second amended
                 complaint within the next ten (10) days.
22
     (Bollinger Deel.     ~~   9, 10, Exhs. B, C ~ 2.) Plaintiff's Counsel took these statements to mean that
23
     Defendant was seeking to settle out the claims alleged in this lawsuit that were not previously
24
     alleged in the Stewart Action by having the Stewart plaintiff amend its complaint and PAGA letter.
25
     (Id.   ~   11.) While Plaintiff scheduled an Informal Discovery Conference with the Com1 regarding
26
     the discovery dispute, Plaintiff determined that it could no longer wait for the resolution of the
27
28   discovery dispute (and get confirmation regarding the existence of any arbitration agreement) to

     file its amended complaint. (Id.)
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 1          Plaintiff's Counsel took immediate action to preserve Plaintiff's rights with respect to his
 2   class claims after receiving a copy of the Stewart pleading by sending Defendant's Counsel a draft
 3   of the proposed FAC on Monday, April 19, 2021, and requesting that Defendant stipulate to the
 4   filing of the amended complaint. (Bollinger Deel.       ,r 2, Exh. A at April   19, 2021 11 :12 AM.) On
 5   April 21, 2021, Defendant's Counsel declined Plaintiff's request. (Id., Exh. A at April 21, 2021
 6
     10:4 7 AM.) Plaintiff's Counsel contacted the Court that same day to reserve a date for hearing on
 7
     this Motion. (Id.   ,r 2.)
 8
            Based on these facts, Defendants cannot legitimately claim there was an unreasonable
 9
     delay in bringing this Motion.
10
            Further, if the Motion is granted, Defendants will be in effectively the same position as if
11
     the proposed FAC had been filed on the date the original complaint was filed. In light of the fact
12
     that there is no trial date set in this matter-and Defendants have yet to request that the Court set
13
     one-no prejudice can arise from the Motion being granted. Furthermore, as Plaintiffs' pending
14
     discovery petiains to the proposed new claims as well as the existing PAGA claims and, in any
15
16   case, Howmet has stonewalled Plaintiff's discovery efforts to date, Defendants cannot claim that

17   they will be prejudiced by having to incur additional costs related to discovery. This is simply not

18   the "eve of trial" type scenario where the potential prejudice flowing from a contemplated

19   amendment justifies ignoring "the strong policy favoring the liberal allowance of amendments."

20   Mesler, 39 Cal. 3d at 296.
21          The type of unfair surprise or additional costs that can occur when leave is sought
22   immediately before, or during, trial just do not exist here. See, e.g., Magpali v. Farmers Group,
23   Inc. (1996) 48 Cal. App. 4th 471, 486-87 ("Where ... counsel, the parties, the trial comi, and the
24   witnesses have blocked the time, and the only way to avoid prejudice to the opposing party is to
25
     continue the trial date to allow further discovery, refusal of leave to amend cannot be an abuse of
26
     discretion."). The amendments Plaintiff proposes are all related to the facts originally pleaded in
27
     this Action, so no prejudice will result by Plaintiff having "delayed" the inclusion or amendment
28


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 1   of legal theories stated for the first time in the proposed FAC. See Kittredge, 213 Cal. App. 3d at
 2   1048. In fact, the proposed amendments omit one theory of liability.
 3           To the extent the new causes of action create any additional imposition on Defendants, that
 4   imposition will result only from the statute of limitations of the claims pleaded against them, not
 5   from the fact that some of the claims they will face were not stated in the original complaint filed
 6
     herein. There is no authority stating that a motion for leave to amend a complaint could or should
 7
     be denied simply because the amended complaint expands the scope of litigation. Indeed, the
 8
     relevant case law indicates that if a plaintiff wants to expand the scope of a complaint even to add
 9
     additional legitimate legal theories, it is proper to do so if discovery is still open. Morgan, 172 Cal.
10
     App. 2d at 531 (noting that there was no prejudice to the defendant where an amended complaint
11
     would increase the number of causes of action pleaded against him); cf Laabs v. City of Victorville
12
     (2008) 163 Cal. App. 4th 1242, 1258 (noting that amendments to pleadings are "readily allowed"
13
     at the summary judgment stage); see also Cal. Civ. Proc. Code§§ 437c (stating that a motion for
14
15   summary judgment must be served seventy-five days before hearing, and that such hearing must

16   occur at least thirty days before trial); 2024.020 (stating that discovery generally closes thirty days

17   before trial). Even assuming Defendants oppose this motion on the grounds that it increases the

18   scope of the Action, that is not prejudice of the kind that could scuttle this Motion. As Defendants

19   will not be able to articulate any form of prejudice upon which this Motion could be denied, the

20   Motion should be granted.
21               C. The Stewart Action Is Irrelevant To This Motion.
22           Plaintiff anticipates that the Defendants will argue that the Court should deny this Motion
23   because, Defendants are seeking to settle all of Plaintiff's claims, including the class claims
24   including in his proposed First Amended Complaint, in the Stewart Action. However, any new
25
     claims in the Stewart Action that are based on new facts (e.g., claims for unpaid minimum wages,
26
     meal break violations, and non-reimbursement of business expenses) will not relate back to the
27
     filing of the Stewart plaintiff's original complaint. "The relation-back doctrine requires that the
28
     amended complaint must (1) rest on the same general set offacts, (2) involve the same injury, and

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 1   (3) refer to the same instrumentality, as the original one." Norgart v. Upjohn Co. (1999) 21 Cal.
 2   4th 383, 408-09 (original italics); see, e.g., Kemp v. Int'/ Bus. Machines Co,p. (N.D. Cal. Apr. 6,
 3   2011) No. C-09-3683 MHP, 201 1 WL 13153248, at *4 n.5 (finding "putative class's claims do not
 4   relate back to the date of the original complaint" because "[t]he original claim for alleged record-
 5   keeping violations and the new claims for alleged failure to pay overtime, reimburse business
 6
     expenses, provide meal periods, and pay timely wages involve distinct factual inquiries").
 7
            In contrast, where, as here, the original PAGA notice gave sufficient notice of each and
 8
     every claim proposed in Plaintiff's First Amended Complaint, the new claims may relate back to
 9
     the original PAGA complaint. Brown v. Ralphs Grocery Co. (2018) 28 Cal. App. 5th 824, 841-842
10
     ("later-added claims are not saved by ... the relation back doctrine ... except to the extent the
11
     later-added [Labor Code]] claims may relate back to the PAGA claim adequately and timely
12
     noticed in 2009") (emphasis added). That is precisely what we have here. All of the claims that
13
     Plaintiff proposes to add to his First Amended Complaint will relate back to his October 13, 2020
14
15   filing of his PAGA complaint because they are based on the exact same facts as his PAGA claim.

16   Accordingly, even if the Stewart plaintiff amends his claims to add all of Plaintiff's unique class

17   claims, any settlement of those claims will not cover the full statutory period of covered by the

18   claims in this case. In other words, Plaintiff's proposed amendments are not futi le even if the

19   Stewa11 court approves a settlement in that case.

20   IV.    CONCLUSION
21          In light of Plaintiffs good faith and timely conduct in bringing this Motion, and the fact
22   that the amendment sought will not prejudice Defendants, Plaintiff respectfully requests the Court
23   grant this Motion and allow Plaintiff to file the proposed First Amended Complaint.
24
25   DATED: April 28, 2021                                   MOSS BOLLINGER, LLP

26
27
                                                             Jeremy F. Bollinger
28                                                           Attorneys for Plaintiff DAVID WALKER


               PLAlNTlFF'S NOTICE OF MOTION AND MOTION FOR LEAVE TO FlLE FIRST AMENDED COMPLAINT
                                                      - 8-
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                 EXHIBIT 1
                                    to
      Motion for Leave to File First
               Amended Complaint
     Walker v. Howmet Aerospace
           Case No. CIVDS2022311
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   DAVID WALKER
 9
                                SUPERIOR COURT OF CALIFORNIA
10
                                 COUNTY OF SAN BERNARDINO
11
     DAVID WALKER, an individual, on behalf of    Case No. CIVDS2022311
12   himself and all others similarly situated,
                                                  (Assigned for all purposes to Hon. David
13                Plaintiffs,                     Cohn, Dept. S-26)

14         VS.                                    FIRST AMENDED COMPLAINT FOR
                                                  DAMAGES
15   HOWMET AEROSPACE, INC., a Delaware
     corporation; SCHLOSSER FORGE                 1.      PENAL TIES PURSUANT TO
16   COMPANY, a Delaware corporation; and                 PRIVATE ATTORNEY GENERAL
     DOES 1-50,                                           ACT OF 2004
17
                                                  2.      FAIL URE TO PAY MINIMUM
                  Defendants.
                                                          WAGES
18
                                                  3.      FAILURE TO PAY OVERTIME
                                                          WAGES
19
                                                  4.      FAIL URE TO PROVIDE
                                                          ADEQUATE MEAL PERIODS AND
20
                                                          PAY ALL PREMIUMS OWED
                                                  5.      FAILURE TO PAY ALL REST
21
                                                          PERIOD PREMIUMS
                                                  6.      FAIL URE TO FURNISH
22
                                                          ACCURATE ITEMIZED WAGE
                                                          STATEMENTS
23
                                                  7.      FAIL URE TO TIMELY PAY ALL
                                                          WAGES UPON CESSATION OF
24
                                                          EMPLOYMENT
25
                                                  8.      FAIL URE TO REIMBURSE
                                                          BUSINESS EXPENSES
                                                  9.      UNFAIR COMPETITION
26

27                                                DEMAND FOR JURY TRIAL

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                                   FIRST AMENDED COMPLAINT
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             Plaintiff David Walker ("PLAINTIFF"), on behalf of himself, other similarly aggrieved

 2   employees of Defendants Howmet Aerospace, Inc. and Schlosser Forge Company, and on behalf
 3
     of the State of California, hereby complains and alleges as follows:
 4
                                             INTRODUCTION
 5
             1.     This is a class and representative action by PLAINTIFF on behalf of himself, other
 6
     similarly aggrieved employees, and the State of California against defendants Howmet Aerospace,
 7
     Inc. and Schlosser Forge Company and Doe Defendants 1-50 (collectively, "DEFENDANTS"),
 8
     pursuant to the California Private Attorney General Act, Labor Code sections 2698 et seq.
 9
     ("PAGA") to recover civil penalties (75% payable to the Labor Workforce Development Agency
10
     and 25% payable to aggrieved employees) and remedies under Code of Civil Procedure§ 382 for
11
     failure to pay all minimum and overtime wages, failure to provide adequate meal breaks, failure to
12
     correctly pay meal and rest break premiums, failure to provide accurate wage statements and failure
13
     to timely pay all wages upon cessation of employment and failure to reimburse business expenses
14
     to PLAINTIFF and other similarly aggrieved employees of DEFENDANTS in California.
15
                                          JURISDICTION AND VENUE
16
             2.     This Court has jurisdiction over this action under Article 6 of the California
17
     Constitution and California Code of Civil Procedure § 410.10.
18
             3.     This Court has jurisdiction over Plaintiffs and Class Members' claims for unpaid
19
     minimum wages, unpaid overtime wages, meal period violations, rest break violations, failure to
20
     reimburse for business expenses and waiting time penalties under California Labor Code § 218.
21
             4.     This Court has jurisdiction over Plaintiffs and the Class Members' claims for
22
     restitution of ill-gotten benefits arising from Defendant's unlawful and/or unfair business
23
     practices under California Business & Professions Code§§ 17200 et seq.
24
             5.     This Court has jurisdiction over PLAINTIFF' s claims for penalties pursuant to
25
     PAGA.
26
             6.     Venue is proper in this Judicial district and the County of San Bernardino pursuant
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     to California Code of Civil Procedure§ 395.5 because DEFENDANTS employed PLAINTIFF at
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                                       FIRST AMENDED COMPLAINT
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     its facility in Rancho Cucamonga, California, in the County of San Bernardino, and the acts,

 2 omissions, and conduct alleged by PLAINTIFF herein occurred in this county.

 3                                                 PARTIES

 4          7.      Plaintiff David Walker is a resident of San Bernardino County, California.

 5 PLAINTIFF was hired by Defendant Schlosser Forge Company dba Arconic, Inc., a Delaware

 6 corporation, as a grinder at its facility in Rancho Cucamonga, California, in or around 2017. In

 7 2020, Arconic, Inc. became Howmet Aerospace, Inc., a Delaware corporation. PLAINTIFF worked

 8 for DEFENDANTS until he was laid off in the summer of 2020 by Howmet Aerospace, Inc.

 9          8.      PLAINTIFF is informed and believes that DOES 1 through 50 are corporations,

IO individuals, limited liability partnerships, limited liability companies, general partnerships, sole

11   proprietorships or are other business entities or organizations of a nature not currently known to

12   PLAINTIFF.

13          9.      PLAINTIFF is unaware of the true names of Defendant DOES 1 through 50.

14 PLAINTIFF sues said Defendants by said fictitious name, and will amend this complaint when the

15 true names and capacities are ascertained or when such facts pertaining to liability are ascertained,

16 or as permitted by law or by the Comi. PLAINTIFF is info1med and believes that each of the

17   fictitiously named Defendants is in some manner responsible for the events and allegations set forth

18   in this complaint.

19           10.    PLAINTIFF is informed and believes, and thereon alleges, that at all times herein

20   mentioned each Defendant, including all Defendants sued under fictitious names, was the

21   employee, or representative of each of the remaining Defendants, and in doing the things

22   hereinafter alleged, was at times acting within the course and scope of this employment, and at

23   other times, acting in his or her own individual capacity. In the alternative, each of the individually

24   named Defendants, acted in concert and in furtherance of a fraudulent plan and scheme and each

25   actively participated in the wrongful acts alleged in this complaint.

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 1                                      FACTUAL BACKGROUND
 2          11.     At all times during the liability period, DEFENDANTS employed PLAINTIFF and

 3 other similarly situated hourly paid employees to perform services at DEFENDANTS' facilities

 4 throughout California.

 5          12.     When working in DEFENDANTS' facility, including during the one year period

 6 before PLAINTIFF notified DEFENDANTS and the L WDA of his claims, in violation of Labor

 7 Code Sections 510, 1194, 1197 and subsections 3 and 4 of applicable Industrial Welfare

 8 Commission ("IWC") Wage Orders, including Wage Order 1, PLAINTIFF and other similarly

 9 situated aggrieved employees were suffered and pennitted to work before the start of their shifts to

10 don protective clothing and gear that was necessary for them to perform their work, including a

11   work shirt and pants, apron, safety boots, safety glasses, ear plugs, helmet, and N95 mask.

12 DEFENDANTS maintained lockers where PLAINTIFF and other similarly situated employed

13   individuals changed out of their personal shirt, pants and shoes and donned the protective clothing

14 and gear before the start of their scheduled shift. DEFENDANTS required PLAINTIFF and other

15   similarly situated employed individuals to be dressed in their protective clothing and gear before

16 they clocked in for work. PLAINTIFF performed this work with the knowledge of and at the

17 direction of his supervisors.

18          13.     PLAINTIFF spent approximately ten minutes before each shift donning his

19 protective clothing and gear. However, PLAINTIFF and other similarly employed individuals were

20 only paid from the start of their scheduled shift time. Therefore, DEFENDANTS did not pay

21   PLAINTIFF and other similarly situated employed individuals for the approximately 10 minutes of

22 work time required before the start of their scheduled shift time. On shifts less than 8 hours or in

23   weeks in which PLAINTIFF worked less than 40 hours, DEFENDANTS owe PLAINTIFF for his

24   unpaid work time at minimum wage. On shifts of 8 or more hours or in weeks in which

25   PLAINTIFF worked 40 or more hours, Defendant owes PLAINTIFF for his unpaid work at

26   PLAINTIFF's overtime rate. Accordingly, DEFENDANTS violated Labor Code Section 510 and

27   IWC Wage Order 1, subsection 3.

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 1          14.        Labor Code § 512 generally requires that employees working shifts of more than

 2 five hours be provided with a meal period within the first five hours of work, and that employees

 3 working shifts of more than ten hours be provided with a second meal period. Lab. Code§ 512; see

 4 also Section 11 of the applicable Wage Orders, including Wage Orders 1. Employees are,

 5 therefore, entitled to one additional hour of pay at the employee's regular rate of pay for every day

 6 that a meal period was not provided or is provided late. See id.; Lab. Code§ 226.7(c).

 7          15.        During PLAINTIFF's employment, PLAINTIFF regularly worked shifts lasting

 8 longer than 10 hours. PLAINTIFF and all other similarly employed individuals were released for

 9 their meal periods at the same time by their supervisor. PLAINTIFF did not have discretion when to

10 take his meal periods. DEFENDANTS did not release PLAINTIFF and other similarly employed

11   individuals for their second 30-minute meal period when they worked shifts lasting longer than 10

12 hours. Accordingly, DEFENDANTS regularly failed to provide, authorize, and/or permit to

13 PLAINTIFF and other similarly employed aggrieved employees to take a second meal period on

14 shifts over ten hours, as required by California law. DEFENDANTS did not pay PLAINTIFF and

15   the other similarly situated aggrieved employees an additional hour as premium pay, as required by

16   California law.

17          16.        Labor Code Section 226.7 and Section 1 l(D) of the applicable IWC Wage Order,

18   including Wage Order 1, requires DEFENDANTS to pay employees, when their rights to meal

19 breaks and rest breaks are violated, "one additional hour of pay at the employee's regular rate of

20 compensation" for each workday that the meal or rest period is not provided. When

21   DEFENDANTS pay break premiums, DEFENDANTS' policy and practice has been to pay the

22   break premium at the employee's base hourly rate without factoring in other wages paid for the

23   labor performed.

24          17.        California looks to federal law in defining "regular rate" and the FLSA defines

25   "regular rate" at 29 USC § 207(e) without reference to "of pay", or "of compensation":

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 1          (e) "Regular rate" defined

 2          As used in this section the "regular rate" at which an employee is employed shall be deemed
            to include all remuneration for employment paid to, or on behalf of, the employee ....
 3          (emphasis added.)

 4          18.     The "all remuneration" requirement compels employers, in determining "regular

 5 rate" for an hour of work, to incorporate all remuneration an employee is paid for the hour ( e.g.

 6 bonuses, shift differentials, commissions, hourly pay, piece work wages, etc.).

 7          19.     During the one-year period prior to the date of submitting this letter,

 8 DEFENDANTS paid PLAINTIFF and other similarly employed individuals break premiums at

 9 their base hourly rate without factoring in other wages paid for the labor performed, including

10   incentive bonuses and shift differentials, among other things.

11          20.     At all times during the liability period, PLAINTIFF and other similarly situated

12   seasonal employees did not receive all money owed them at the time their employment with

13   DEFENDANTS ceased and still have not received such pay.

14          21.     During the one-year period prior to the date of submitting this letter,

15   DEFENDANTS issued wage statements to PLAINTIFF and similarly situated employed

16   individuals that did not list all wages earned, including the minimum, overtime and premium wages

17 discussed above. As the above infractions explain, PLAINTIFF and similarly employed persons

18 were entitled to minimum, overtime and premium wages that were not paid and, therefore,

19   DEFENDANTS violated and continue to violate the provisions of Labor Code Section 226.

20          22.     PLAINTIFF (and others) have ceased their employment with DEFENDANTS. Upon

21   the cessation of that employment relationship (and as prescribed by statute), they did not receive all

22 wages owed. Namely, said former employees (including PLAINTIFF) did not receive all of their

23   minimum and overtime wages due to DEFENDANTS' failure to pay for pre-shift donning of

24 protective clothing and gear. PLAINTIFF and those similarly situated, upon te1mination, did not

25   receive all owed wages on the date of termination. Therefore, DEFENDANTS have violated and

26   continue to violate Labor Code Sections 201 and 202.

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            23.     As alleged above, DEFENDANTS required PLAINTIFF and other similarly situated

 2 employed individuals to wear ce1iain articles of protective gear including masks and safety boots

 3 while they work. DEFENDANTS were required to provide N95 masks to PLAINTIFF and other

 4 similarly employed individuals; however, once the Coronavirus pandemic started, not only did

 5 DEFENDANTS no longer provide N95 masks to PLAINTIFF and others, DEFENDANTS

 6 provided no masks and required PLAINTIFF and other similarly employed individuals to procure

 7 their own masks at their own expense. In order to protect himself and comply with the mask

 8 requirement, PLAINTIFF purchased disposable single use masks at a cost of approximately $4 per

 9 mask per workday without reimbursement. PLAINTIFF worked three days per week. Similarly,

10 DEFENDANTS were supposed to provide safety boots to PLAINTIFF and other similarly

11   employed individuals. However, when individuals needed new boots, DEFENDANTS did not

12 provide employees with a new boot voucher to buy a replacement pair of boots. Employees were

13   required to purchase replacement boots at their own expense without reimbursement.

14          24.    Labor Code§ 2802 provides that "[a]n employer shall indemnify his or her

15   employee for all necessary expenditures or losses incurred by the employee in direct consequence

16 of the discharge of his or her duties." Wage Order 1, Section 9(B), also states that an employer shall

17 provide necessary tools or equipment, except in cases where the employee is paid two times the

18 minimum wage.

19          25.    At the time PLAINTIFF was laid off, PLAINTIFF was paid $16.4285 per hour.

20   Similarly situated employees are also paid less than two times the minimum wage. As such,

21   DEFENDANTS were required to provide all necessary tools and equipment. Moreover, pursuant to

22 Labor Code Section 2802, DEFENDANTS were required to reimburse all necessary expenditures.

23   Here, DEFENDANTS were required to indemnify PLAINTIFF and all similarly situated employees

24   for masks and replacement boots purchased in direct consequence of the discharge of their duties.

25   Therefore, DEFENDANTS have violated Labor Code Section 2802 by requiring its employees to

26 purchase their own masks and replacement boots and failing to reimburse the expense.

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 1                     COMPLIANCE WITH NOTIFICATION REQUIREMENTS

 2          26.      On July 29, 2020, PLAINTIFF, through his counsel, sent a certified letter to the

 3   California Labor and Workforce Development Agency ("L WDA") informing it that

 4   DEFENDANTS failed to meet their obligations under California law with regard to the violations

 5 alleged in this complaint ("PAGA Letter"). Attached hereto as Exhibit A is a true and correct

 6 copy of the July 29, 2020 letter also sent to DEFENDANTS at the offices of their Agents for

 7   Service of Process.

 8          27.      To date, more than 65 days after July 29, 2020 PAGA Letter was mailed, the

 9 L WDA has not responded.

10          28.      The PAGA Letter outlined PLAINTIFF's claims for violations of the California

11   Labor Code and the applicable wage orders on behalf of himself, the State of California and other

12   aggrieved employees.

13          29.      Accordingly, PLAINTIFF exhausted administrative remedies as required by Labor

14   Code§ 2699.3.

15                       CLASS DEFINITIONS AND CLASS ALLEGATIONS

16          30.      PLAINTIFF brings this action on behalf of himself, on behalf of all others

17   similarly situated, and as members of Classes defined as follows:

18                a. Break and Unpaid Wages Class: All persons employed as a non-exempt

19                   employee by DEFENDANTS in California at any time from October 13, 2016

20                   through the date Notice is mailed to the Class.

21                b. Break Premium Regular Rate Class: All members of the Break & Unpaid Wages

22                   Class who were paid a meal or rest break premium by DEFENDANTS in

23                   California at any time from October 13, 2016 through the date Notice is mailed

24                   to the Class

25                c. Donning and Doffing Class: All members of the Break & Unpaid Wages Class

26                   who were required by DEFENDANTS to don and/or doff protective clothing

27                   and gear that was necessary for them to perform their work, including a work

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                       shirt and pants, apron, safety boots, safety glasses, ear plugs, helmet, and/or N95

 2                     mask in California at any time from October 13, 2016 through the date Notice is

 3                     mailed to the Class.

 4                d. Wage Statement Class: All members of the Break and Unpaid Wages Class who

 5                     were employed by DEFENDANTS in California at any time from October 13,

 6                     2019 through the date Notice is mailed to the Class.

 7                e. Waiting Time Penalty Class: All members of the Break and Unpaid Wages

 8                     Class who were employed by DEFENDANTS in California at any time from

 9                     October 13, 2017 through the date Notice is mailed to the Class, including, but

10                     not limited to, anyone who may have been reemployed by DEFENDANTS after

11                     their prior employment ended.

12                f.   Reimbursement Class: All members of the Break & Unpaid Wages Class who

13                     were required by DEFENDANTS to wear N95 masks and/or safety boots in the

14                     performance of their work duties for DEFENDANTS in California at any time

15                     from October 13, 2016 through the date Notice is mailed to the Class.

16          31.        This action has been brought and may be properly maintained as a class action

17 pursuant to the provisions of California Code of Civil Procedure § 382 and other applicable law.

18          32.        Numerosity: Code of Civil Procedure § 382: members of the Class are so

19 numerous that their individual joinder is impracticable. The precise number of Class members

20   and their addresses are unknown to PLAINTIFF. However, PLAINTIFF is informed and

21   believes that the number can be obtained from DEFENDANTS' records. Class members may be

22   notified of the pendency of this action by mail, electronic mail, the Internet, or published notice.

23          33.        Existence of Predominance of Common Questions of Fact and Law: Code of

24   Civil Procedure § 3 82: Common questions of law and fact exist as to all members of the Class.

25   These questions predominate over any questions effecting only individual members of the class.

26   These common factual and legal questions include:

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               (a) Whether DEFENDANTS failed to compensate members of the Break and

 2                Unpaid Wages Class for all overtime owed.

 3             (b) Whether DEFENDANTS failed to provide members of the Break and Unpaid

 4                Wages Class timely, thirty (30) minute uninterrupted meal breaks as

 5                contemplated by California law;

 6             (c) Whether DEFENDANTS violated the applicable IWC Wage Orders and

 7                Labor Code Sections by failing to provide members of the Break and Unpaid

 8                Wages Class second meal periods on shifts over ten (10) hours;

 9             (d) Whether DEFENDANTS failed to factor incentive bonuses and/or shift

10                differentials into the calculation of the payment of break premiums to

11                members of the Break Premium Regular Rate Class.

12             (e) Whether California law requires DEFENDANTS to factor incentive bonuses

13                and/or shift differentials into the calculation of the payment of break

14                premiums to members of the Break Premium Regular Rate Class.

15             (f) Whether DEFENDANTS failed to pay members of the Break and Unpaid

16                Wages Class for time members of the class took to don and doff protective

17                clothing and gear prior to the start of their shifts.

18             (g) Whether DEFENDANTS failed to provide members of the Waiting Time

19                Penalty Class all wages owed, including ove1iime wages, break premiums, at

20                the time of the cessation of the employee-employer relationship;

21             (h) Whether DEFENDANTS failed to reimburse members of the Reimbursement

22                Class for the cost of masks and boots members of the class purchased for use

23                at work;

24             (i) Whether DEFENDANTS committed unlawful business practices or acts

25                within the meaning of Business & Professions Code Sects. 17200 et seq.;

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                     G)   Whether hourly paid employees are entitled to premium wage waiting time

 2                        penalties, inaccurate wage statement penalties and other relief in conjunction

 3                        with their meal and rest break claims;

 4                   (k) Whether, as a consequence of DEFENDANTS' unlawful conduct, the Class

 5                        members are entitled to restitution, and/or equitable relief;

 6                   (l) Whether DEFENDANTS' affirmative defenses, if any, raise any common

 7                        issues of law or fact as to Plaintiff and the Classes members as a whole.

 8           34.     Typicality: PLAINTIFF's claims are typical of the claims of the members of

 9   each Class because PLAINTIFF, as a non-exempt employee, was exposed to the same unlawful

10   business practices as the members of the classes. PLAINTIFF sustained the same types of

11   injuries and losses that the class members sustained. PLAINTIFF is subject to the same

12   affirmative defenses as the members of the class.

13           35.     Adequacy: PLAINTIFF will adequately and fairly protect the interests of the

14 members of the Classes. PLAINTIFF has no interest adverse to the interests of absent Class

15   members. PLAINTIFF is represented by legal counsel who has substantial class action

16   experience in civil litigation and employment law.

17           36.     Superiority: A class action is superior to other available means for fair and

18   efficient adjudication of the claims of the Classes and would be beneficial for the parties and the

19   court. Class action treatment will allow a large number of similarly situated persons to prosecute

20   their common claims in a single forum, simultaneously, efficiently, and without the unnecessary

21   duplication of effort and expense that numerous individual actions would require. The monetary

22   amounts due to many individual Class members are likely to be relatively small, and the burden

23   and expense of individual litigation would make it difficult or impossible for individual members

24   of the Class to seek and obtain relief. A class action will serve an important public interest by

25   permitting such individuals to effectively pursue recovery of the sums owed to them. Further,

26   class litigation prevents the potential for inconsistent or contradictory judgments raised by

27   individual litigation.

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 1                                      FIRST CAUSE OF ACTION

 2                                  CIVIL PENALTIES UNDER PAGA

 3                (By PLAINTIFF and Aggrieved Employees against DEFENDANTS)

 4          37.      PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if fully

 5 alleged herein.

 6          38.      Under the Private Attorney General Act, Labor Code §§ 2698-99 ("PAGA"), private

 7 parties may recover civil penalties for violations of the California Labor Code, including sections

 8 510,512, 1194, 1197, 2802, 201,202,203,226,226.7 and the Industrial Welfare Commission's

 9 ("IWC") Wage Orders, including IWC Wage Order 1. PAGA penalties are in addition to any other

10 relief available under the Labor Code.

11          39.      As set forth above, DEFENDANTS violated the California Labor Code by

12 consistently failing to employ PLAINTIFF and other similarly situated employees in compliance

13   with California law.

14          40.      At all times relevant to this action, PLAINTIFF and other aggrieved employees were

15   employees of DEFENDANTS entitled to the benefits of the IWC Wage Orders, including Wage

16 Orders 1.

17          41.      At all times relevant hereto, California Labor Code§§ 510, 1194(a) and 1197 and

18 the applicable wage orders, have required DEFENDANTS to pay their employees the applicable

19 minimum wage for all hours worked and overtime wages for all hours worked over 8 hours in a day

20 and over 40 hours in a week.

21          42.      PLAINTIFF and the other aggrieved employees were not paid by DEFENDANTS,

22 during the relevant period, the applicable minimum and overtime wages for all hours worked

23   because DEFENDANTS required PLAINTIFF and others to perform work off the clock before the

24   start of their shift for which DEFENDANTS did not pay them, as alleged above.

25          43.      At all relevant times, PLAINTIFF and the other aggrieved employees were

26   employees of DEFENDANTS covered by Labor Code Sections 510 and 1194 and the applicable

27 wage orders.

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            44.     By failing to pay PLAINTIFF and the other aggrieved employees for all overtime

 2 hours worked, DEFENDANTS willfully breached their obligation to pay overtime wages, violating

 3 the provisions of Labor Code sections 510 and 1194 and the applicable wage orders.

 4          45.     By failing to pay PLAINTIFF and other aggrieved employees who performed pre-

 5 shift work, DEFENDANTS willfully breached their obligations under Section 5 of the applicable

 6 wage orders, including Wage Orders 1.

 7          46.     At all relevant times, PLAINTIFF and other aggrieved employees were employees

 8 of DEFENDANTS covered by the meal period provisions of Labor Code Sections 226.7 and 512,

 9 and the applicable wage orders, including Wage Orders 1.

10          47.     Pursuant to Labor Code Sections 226. 7 and 512, and the applicable wage orders,

11   PLAINTIFF and other aggrieved employees were entitled to a meal period of at least 30 minutes for

12 each workday they worked more than 5 hours in any workday, and one additional hour of pay for

13   every day that a timely meal period was not provided.

14          48.     DEFENDANTS failed to provide PLAINTIFF and other aggrieved employees with

15 timely, uninterrupted, duty free meal periods in accordance with Labor Code Section 226.7 and

16 512, and the applicable wage orders. During the relevant period, DEFENDANTS maintained and

17 continue to maintain a policy or practice of failing to provide aggrieved employees, including

18 PLAINTIFF, with second meal periods on shifts over 10 hours, as alleged above.

19          49.     DEFENDANTS failed to provide PLAINTIFF and other aggrieved employees the

20 additional hour of pay required by Labor Code Section 226.7 and the applicable wage orders for the

21   meal period violations alleged herein. PLAINTIFF is informed and believes and thereon alleges

22 that at all relevant times within the relevant period, DEFENDANTS maintained and continue to

23   maintain a policy or practice of not paying additional pay to employees for meal period violations,

24 and when DEFENDANTS do pay premiums for meal and rest break violations, DEFENDANTS

25   have maintained and continue to maintain a policy or practice of failing to include all forms of

26 compensation in its calculation of those premiums payments, as alleged above.

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             50.    Pursuant to Labor Code Section 201, PLAINTIFF and other similarly aggrieved

 2   employees were entitled upon cessation of employment with DEFENDANTS to timely payment of

 3 all wages earned and unpaid prior to termination and/or discharge, including layoff. Employees

 4 who were discharged were entitled to payment of all wages earned and unpaid prior to discharge

 5   immediately upon termination. Pursuant to Section 202, employees who voluntarily terminated

 6 their employment with DEFENDANTS were entitled to timely payment of all wages earned and

 7 unpaid within 72 hours of giving notice of their resignation.

 8           51.    DEFENDANTS failed to pay PLAINTIFF and other aggrieved terminated

 9 employees all wages earned and unpaid prior to termination timely in accordance with Labor Code

10   Sections 201 and 202.

11           52.    DEFENDANTS' failure to pay PLAINTIFF and other terminated employees all

12 wages earned prior to termination in accordance with Labor Code Sections 201 and 202 was willful.

13   DEFENDANTS had the ability to pay all wages earned by employees prior to termination in

14   accordance with Labor Code Sections 201 and 202, but intentionally adopted policies or practices

15   incompatible with the requirements of Section 201 and 202.

16           53.    Pursuant to Labor Code Section 203, PLAINTIFF and other terminated employees

17 were entitled to continuation of their wages, from the day their earned and unpaid wages were due

18   upon termination until paid, up to a maximum of30 days. DEFENDANTS did not comply with

19 their obligations under Section 203.

20           54.    DEFENDANTS failed to reimburse PLAINTIFF and other aggrieved employees for

21   necessary expenditures or losses incurred by the employees in direct consequence of the discharge

22   of their duties in violation of Labor Code Section 2802.

23                                   SECOND CAUSE OF ACTION

24                             FAILURE TO PAY MINIMUM WAGES

25           (By PLAINTIFF and the Donning and Doffing Class Against All Defendants)

26          55.     PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if

27   fully alleged herein.

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                                                     13
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             56.     At all relevant times, PLAINTIFF and the other members of the Donning and

 2 Doffing Class were employees of DEFENDANT covered by Labor Code Section 1197 and IWC

 3   Wage Order 14.

 4           57.     Pursuant to Labor Code Section 1197 and Wage Order 14, PLAINTIFF and the

 5 other members of the Donning and Doffing Class were entitled to receive minimum wages for all

 6 hours worked.

 7           58.     DEFENDANT failed to pay PLAINTIFF and other members of the Donning and

 8 Doffing Class minimum wages for all hours worked in violation of Labor Code Section 1197 and

 9 Wage Order 1. PLAINTIFF is informed and believes and thereon alleges that at all relevant

10 times within the applicable limitations period, DEFENDANTS maintained and continue to

11   maintain a policy or practice ofrequiring PLAINTIFF and putative class members to perform

12 various duties before the start of their scheduled shift, their meal break and after their scheduled

13   shift and meal breaks, including the donning and doffing of protective clothing and gear, but

14   does not pay those employees for the time it takes them to don and doff their apparel.

15           59.     As a result of DEFENDANTS' unlawful conduct, PLAINTIFF and other

16 members of the Donning and Doffing Class have suffered damages in an amount, subject to

17 proof, to the extent they were not paid minimum wages for all hours actually worked.

18           60.     Pursuant to Labor Code Sections 1197 and Wage Order 1, PLAINTIFF and other

19 members of the Donning and Doffing Class are entitled to recover the full amount of unpaid

20   minimum wages, prejudgment interest, liquidated damages, reasonable attorney's fees and costs of

21   suit.

22                                    THIRD CAUSE OF ACTION

23                             FAILURE TO PAY OVERTIME WAGES

24                 (Plaintiff and the Donning and Doffing Class Against All Defendants)

25           61.     PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if

26   fully alleged herein.

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                                       FIRST AMENDED COMPLAINT
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              62.   At all relevant times, PLAINTIFF and other members of the Donning and Doffing

 2   Class were employed by DEFENDANTS and covered by Labor Code Section 510 and Wage

 3 Order 1.

 4            63.   Pursuant to Labor Code Section 510 and Wage Order 1, PLAINTIFF and other

 5 members of the Donning and Doffing Class were entitled to overtime wages payable at the rate

 6 of at least one and one-halftimes their regular rate of pay for all work more than 8 hours in one

 7 workday.

 8            64.   PLAINTIFF is informed and believes and thereon alleges that at all relevant times

 9 within the applicable limitations period, DEFENDANTS maintained and continue to maintain a

10 policy or practice ofrequiring PLAINTIFF and members of the Donning and Doffing Class to

11   perform various duties before the start of scheduled shifts on shifts of 8 hours or more in length,

12 including the donning and doffing of protective clothing and gear, but does not pay those

13   employees for the time it takes them to don and doff their apparel.

14            65.   In committing the violations of state law as herein alleged, DEFENDANT has

15   knowingly and willfully refused to perform its obligations to compensate class members for all

16 wages earned and all hours worked.

17            66.   As a direct result, PLAINTIFF and members of the Donning and Doffing Class

18   have suffered and continue to suffer, substantial losses related to the use and enjoyment of such

19 compensation, wages, lost interest on such monies and expenses and attorney's fees in seeking to

20   compel DEFENDANTS to fully perform its obligation under state law, all to its respective

21   damage in amounts according to proof at trial and within the jurisdictional limitations of this

22   Court.

23            67.   PLAINTIFF on behalf of himself and the Donning and Doffing Class requests the

24   unpaid wages, all penalties to which they may recover interest, attorneys' fees, costs, and any

25   other remedies allowed by law in an amount to be proven at trial.

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                                        FIRST AMENDED COMPLAINT
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 1                                       FOURTH CAUSE OF ACTION

 2                FAILURE TO PROVIDE ADEQUATE MEAL PERIODS AND PAY ALL

 3                                         PREMIUMS OWED

 4   (Plaintiff and the Break and Unpaid Wages Class and Break Premium Regular Rate Class

 5                                        Against All Defendants)

 6          68.     PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if

 7 fully alleged herein.

 8          69.     At all relevant times, PLAINTIFF and the other members of the Break and

 9 Unpaid Wages Class and Break Premium Regular Rate Class were employees of DEFENDANT

10   covered by Labor Code Sections 226.7 and 512, and Wage Order 1.

11          70.     Pursuant to Labor Code Sections 226.7 and 512, and Wage Order 1, PLAINTIFF

12   and the other members of the Break and Unpaid Wages Class and Break Premium Regular Rate

13   Class were entitled to a meal period of at least 30 minutes for each workday they worked more

14 than 5 hours in any workday, and one additional hour of pay for every day that a timely meal

15   period was not provided.

16          71.     By requiring PLAINTIFF and other members of the Break and Unpaid Wages

17   Class and Break Premium Regular Rate Class to don and doff before the scheduled start of their

18   shifts, DEFENDANTS failed to provide PLAINTIFF and other members of the Break and

19   Unpaid Wages Class meal periods within the first 5 hours of their workday for each workday that

20   they worked more than 5 hours in accordance with Labor Code Section 226.7 and 512, and Wage

21   Order 1. Moreover, PLAINTIFF and other putative class members take their meal breaks at the

22   direction of their supervisor. PLAINTIFF is informed and believes and thereon alleges that

23   during the applicable limitations period, DEFENDANTS maintained and continue to maintain a

24 policy or practice of releasing its hourly employees to take their meal periods after working 5

25   hours in a workday and preventing putative class members from taking their meal periods within

26   the first 5 hours of the workday.

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 1          72.     PLAINTIFF and other members of the Break and Unpaid Wages Class were

 2 entitled to a second 30-minute meal period on shifts over 10 hours; however, DEFENDANTS

 3 failed to provide PLAINTIFF and other members of the Break and Unpaid Wages Class a second

 4 meal period on such shifts.

 5          73.     DEFENDANTS regularly failed to provide PLAINTIFF and other members of the

 6 Break and Unpaid Wages Class the additional hour of pay required by Labor Code Section 226.7

 7 and Wage Order 1 for late or missed meal periods. PLAINTIFF is infonned and believes and

 8 thereon alleges that at all relevant times within the applicable limitations period, DEFENDANTS

 9 maintained and continues to maintain a policy or practice of not paying an additional hour of pay

10 to employees for late, short or missed meal periods.

11          74.     When DEFENDANTS have paid PLAINTIFF and other members of the Break

12 Premium Regular Rate Class a premium for a meal break violation, DEFENDANTS have failed

13   to factor incentive bonus and shift differential payments into the regular rate of pay for the

14 payment of those meal break premiums, as alleged above.

15          75.     As a result of DEFENDANTS' unlawful conduct, PLAINTIFF and other

16 members of the Break and Unpaid Wages Class and Break Premium Regular Rate Class have

17 suffered damages in an amount, subject to proof, to the extent they were not paid additional pay

18 owed for meal break violations.

19          76.     Pursuant to Labor Code Section 218, PLAINTIFF and other members of the

20   Break and Unpaid Wages Class and Break Premium Regular Rate Class are entitled to recover

21   the full amount of their unpaid additional pay for late and missed meal periods. Pursuant to

22 Labor Code Section 218.5, PLAINTIFF and other members of the Break and Unpaid Wages

23   Class and Break Premium Regular Rate Class are entitled to recover their reasonable attorney's

24 fees and costs of suit. Pursuant to Labor Code Section 218.6 or Civil Code Section 3287(a),

25   PLAINTIFFS and other members of the Putative Classes are entitled to recover prejudgment

26   interest on the additional pay owed for late and missed meal periods.

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 1                                    FIFTH CAUSE OF ACTION

 2                      FAILURE TO PAY ALL REST PERIOD PREMIUMS

 3          (Plaintiff and the Break Premium Regular Rate Class Against All Defendants)

 4          77.     PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if

 5 fully alleged herein.

 6          78.     At all relevant times, PLAINTIFF and the other members of the Break Premium

 7 Regular Rate Class were employees of DEFENDANTS covered by Labor Code Sections 226.7

 8 and 512, and Wage Order 1.

 9          79.     Pursuant to Labor Code Sections 226.7 and 512, and Wage Order 1, PLAINTIFF

10 and the other members of the Break Premium Regular Rate Class were entitled to a rest period of

11   at least 10 minutes for each four-hour period of work, or major fraction thereof, and one hour of

12 additional pay for every day a required rest period was not provided.

13          80.     When DEFENDANTS paid PLAINTIFF and other members of the Break

14 Premium Regular Rate Class a premium for a rest break violation, DEFENDANTS have failed to

15   factor incentive bonus and shift differential payments into the regular rate of pay for the payment

16 of those rest break premiums, as alleged above.

17          81.     As a result ofDEFENDANT's unlawful conduct, PLAINTIFF and other members

18   of the Break Premium Regular Rate Class have suffered damages in an amount, subject to proof,

19 to the extent they were not paid additional pay owed for missed and short rest periods.

20          82.     Pursuant to Labor Code Section 218, PLAINTIFF and other members of the

21   Break Premium Regular Rate Class are entitled to recover the full amount of their unpaid

22   additional pay for rest period Break Premium Regular Rate Class. Pursuant to Labor Code

23   Section 218.5, PLAINTIFF and other members of the Break Premium Regular Rate Class are

24   entitled to recover their reasonable attorney's fees and costs of suit. Pursuant to Labor Code

25   Section 218.6 or Civil Code Section 3287(a), PLAINTIFF and other members of the Break

26   Premium Regular Rate Class are entitled to recover prejudgment interest on the additional pay

27   owed for missed and short rest periods.

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 1                                         SIXTH CAUSE OF ACTION

 2           FAILURE TO FURNISH ACCURATE ITEMIZED WAGE STATEMENTS

 3                   (Plaintiff and the Wage Statement Class Against All Defendants)

 4           83.      PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if

 5 fully alleged herein.

 6           84.      Section 226(a) of the California Labor Code requires DEFENDANTS to

 7 accurately report total hours worked by PLAINTIFF and the members of the proposed Wage

 8 Statement Class, and to accurately set fotih wages earned. DEFENDANTS have knowingly and

 9   intentionally failed to comply with Labor Code section 226(a) on each wage statement provided

10 to PLAINTIFF and members of the proposed Wage Statement Class during pay periods in which

11   DEFENDANTS failed to pay minimum and/or overtime wages or break premiums owed to

12   PLAINTIFF or a member of the class.

13           85.      As a consequence of DEFENDANTS' knowing and intentional failure to comply

14 with Labor Code section 226(a), PLAINTIFF and each Wage Statement Class member he seeks

15   to represent are each entitled to actual damages or penalties not to exceed $4000 pursuant to

16 Labor Code section 226(b), together with interest thereon and attorneys' fees and costs.

17                                   SEVENTH CAUSE OF ACTION

18        FAILURE TO PAY WAGES TIMELY UPON CESSATION OF EMPLOYMENT

19                 (Plaintiff and the Waiting Time Penalty Class Against All Defendants)

20           86.      PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if

21   fully alleged herein.

22           87.      PLAINTIFF and the other members of the Waiting Time Penalty Class were

23   employees of DEFENDANTS covered by Labor Code Section 201 whose employment was

24   terminated by DEFENDANTS during the relevant class period.

25           88.      Labor Code Section 201 provides: "(a) If an employer discharges an employee,

26   the wages earned and unpaid at the time of discharge are due and payable immediately."

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            89.     A layoff, for purposes of Labor Code Section 201, irrespective of the promise or

 2 prospect of reemployment for another season, is a discharge.

 3          90.     Pursuant to Labor Code Sections 20 I, PLAINTIFF and other members of the

 4   Waiting Time Penalty Class were entitled upon cessation of employment with DEFENDANTS

 5 to timely payment of all wages earned and unpaid prior to termination and/or discharge,

 6   including layoff. Employees who were discharged were entitled to payment of all wages earned

 7   and unpaid prior to discharge immediately upon termination.

 8          91.     DEFENDANTS failed to pay PLAINTIFF and other members of the Waiting

 9   Time Penalty Class all wages earned and unpaid prior to termination timely in accordance with

IO   Labor Code Section 201 or 202. PLAINTIFF is informed and believes and thereon alleges that

11   at all relevant times within the applicable limitations period, DEFENDANTS maintained and

12   continue to maintain a policy or practice of not paying terminated and laid off employees all their

13   final wages earned before termination or layoff due under Labor Code Section 201.

14          92.     DEFENDANTS' failure to pay PLAINTIFF and members of the Waiting Time

15   Penalty Class all wages earned prior to termination in accordance with Labor Code Section 20 I

16 was willful. DEFENDANTS had the ability to pay all wages earned by employees prior to

17 tennination in accordance with Labor Code Section 201, but intentionally adopted policies or

18 practices incompatible with the requirements of Labor Code Section 201.

19          93.     Pursuant to Labor Code Section 201, PLAINTIFF and other members of the

20   Waiting Time Penalty Class are entitled to all wages earned prior to termination that

21   DEFENDANTS failed to pay them.

22          94.     Pursuant to Labor Code Section 203, PLAINTIFF and other members of the

23   Waiting Time Penalty Class are entitled to continuation of their wages, from the day their earned

24   and unpaid wages were due upon termination until paid, up to a maximum of 30 days.

25          95.     As a result of DEFENDANTS' conduct, PLAINTIFF and other members of the

26   Waiting Time Penalty Class have suffered damages in an amount, subject to proof, to the extent

27   they were not paid for all wages earned prior to termination.

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 1          96.     As a result of DEFENDANTS' conduct, PLAINTIFF and members of the

 2 Waiting Time Penalty Class have suffered damages in an amount, subject to proof, to the extent

 3 they were not paid all continuation wages owed under Labor Code Section 203.

 4          97.     Pursuant to Labor Code Sections 218 and 218.5, PLAINTIFF and other members

 5 of the Waiting Time Penalty Class are entitled to recover the full amount of their unpaid wages,

 6 continuation wages under Labor Code Section 203, reasonable attorney's fees and costs of suit.

 7 Pursuant to Labor Code Section 218.6 or Civil Code Section 3287(a), Plaintiff and other

 8 members of the Waiting Time Penalty Class are entitled to recover prejudgment interest on the

 9 amount of their unpaid wages and unpaid continuation wages.

10                                   EIGHTH CAUSE OF ACTION

11                    FAILURE TO REIMBURSE FOR BUSINESS EXPENSES

12                 (Plaintiff and the Reimbursement Class Against All Defendants)

13          98.     PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if

14 fully alleged herein.

15          99.     Labor Code§ 2802 provides that "[a]n employer shall indemnify his or her

16 employee for all necessary expenditures or losses incurred by the employee in direct

17 consequence of the discharge of his or her duties."

18          100.    DEFENDANTS required PLAINTIFF and the other members of the

19 Reimbursement Class to wear N95 masks and safety boots while they worked. When

20   PLAINTIFF and the Reimbursement Class members purchased their own N95 masks and boots,

21   they were not reimbursed for these purchases, as alleged above.

22          101.    PLAINTIFF and the other members of the Reimbursement Class are entitled to

23   reimbursement for these necessary expenditures, plus interest under Labor Code § 2802.

24          102.    As a result of DEFENDANTS' violations of Labor Code§ 2802, DEFENDANTS

25   are also liable for attorneys' fees and costs under Labor Code § 2802( c).

26          103.    PLAINTIFF, on behalf of himself and the other members of the Reimbursement

27   Class, requests relief as described below.

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                                       FIRST AMENDED COMPLAINT
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                                      NINTH CAUSE OF ACTION

 2                                      UNFAIR COMPETITION

 3                         (Plaintiff and the All Classes Against All Defendants)

 4          104.    PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if

 5 fully alleged herein.

 6          105.    The unlawful conduct of DEFENDANTS alleged herein constitutes unfair

 7 competition within the meaning of Business and Professions Code Section 17200. Due to its

 8 unlawful and unfair business practices in violation of the Labor Code, DEFENDANTS haVE

 9 gained a competitive advantage over other comparable companies doing business in the State of

10   California that comply with their obligations to compensate employees for all earned wages as

11   required by law.

12           106.   As a result of DEFENDANTS' unfair competition as alleged herein, PLAINTIFF

13   and other members of the Classes have suffered injury in fact and lost money or property.

14 PLAINTIFF and members of the Class have been deprived of their rights to meal and rest

15   periods and additional pay for late or missed meal and rest periods; unpaid minimum and

16   overtime wages; accurate wage statements; reimbursement for business expenses; and/or timely

17 payment of all earned wages due upon termination of employment.

18           107.   Pursuant to Business and Professions Code Section 17203, PLAINTIFF and other

19 class members are entitled to restitution of all wages and other monies owed and belonging to

20 them, including interest thereon, that DEFENDANTS wrongfully withheld from them and

21   retained for itself by means of its unlawful and unfair business practices.

22           108.   PLAINTIFF and class members are entitled to recover reasonable attorney's fees

23   in connection with their unfair competition claims pursuant to Code of Civil Procedure Section

24   1021.5, the substantial benefit doctrine and/or the common fund doctrine.

25                                         PRAYER FOR RELIEF

26          WHEREFORE, Plaintiff, on behalf of himself and all other aggrieved and similarly situated

27   employees and the State of California, prays for relief and judgment against Defendants as follows:

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 1                               CLASS CERTIFICATION:

 2       1.   An order that the action be certified as a class action;

 3       2.   An order that Plaintiff be certified as the representative of the Classes;

 4       3.   An order that counsel for Plaintiff be confomed as Class counsel;

 5                         ON THE FIRST CAUSE OF ACTION:

 6       1.   Civil penalties under Labor Code Section 2699 (75% payable to the L WDA and

 7            25% payable to aggrieved employees);

 8       2.   Costs;

 9       3.   Reasonable attorney's fees; and

10       4.   Such other and further relief as this Court may deem just and proper.

11                       ON THE SECOND CAUSE OF ACTION:

12       1.   Damages for unpaid minimum wages;

13       2.   Prejudgment interest;

14       3.   Liquidated damages;

15                         ON THE THIRD CAUSE OF ACTION:

16       1.   Damages for unpaid overtime wages;

17       2.   Prejudgment interest;

18       3.   Liquidated damages;

19                       ON THE FOURTH CAUSE OF ACTION:

20       1.   Damages for unpaid additional pay owed for late meal periods;

21       2.   Prejudgment interest;

22                         ON THE FIFTH CAUSE OF ACTION:

23       1.   Damages for unpaid additional pay owed for missed rest periods;

24       2.   Prejudgment interest;

25                         ON THE SIXTH CAUSE OF ACTION:

26       1.   Damages for inaccurate wage statements for each relevant pay period;

27       2.   Prejudgment interest;

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                                  FIRST AMENDED COMPLAINT
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 l                            ON THE SEVENTH CAUSE OF ACTION:

 2          l.     Damages for unpaid wages earned prior to termination of employment;

 3          2.     Damages for unpaid continuation wages owed for failing to pay all earned wages

 4                  timely upon termination of employment;

 5          3.     Prejudgment interest;

 6                             ON THE EIGHTH CAUSE OF ACTION:

 7          l.     Damages for unreimbursed business expenses;

 8          2.     Prejudgment interest;

 9                              ON THE NINTH CAUSE OF ACTION:

10          1.     Restitution of all unpaid wages and other monies owed and belonging to Class

11                 members that Defendants unlawfully withheld from them and retained for itself;

12          2.     Prejudgment interest;

13                                  ON ALL CAUSES OF ACTION:

14          l.     Judgment in favor of Plaintiff and the putative Classes and against Defendants;

15          2.     Reasonable attorney's fees;

16          3.     Costs of suit; and

17          4.     Such other relief as the Court deems just and proper.

18 Dated: April 28, 2021                          MOSS BOLLINGER LLP
19
20                                                By ~
                                                  JeremyF.Bollinger
21                                                Attorneys for Plaintiff DAVID WALKER

22                                   DEMAND FOR JURY TRIAL

23          Plaintiff demands a trial by jury for themselves and the Class on all claims so triable.

24   Dated: April 28, 2021                        MOSS BOLLINGER LLP

25

26                                                By    ~
                                                  Jeremy   T~
27                                                Attorneys for P laintiff DAVID WALKER

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                                                      24
                                        FIRST AMENDED COMPLAINT
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                 EXHIBIT A
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      @
Moss Bollinqer             I.LP
                                                                                     JEREMY F. BOLLINGER
                                                                            310.982.2984/fax: 818.963.5954
                                                                                jeremy@mossbollinger.com




    July 29, 2020

    VIA PAGA ONLINE FILING

     Secretary Julie Su
     Labor & Workforce Development Agency
     PAGA ADMINISTRATOR
     1515 Clay Street, Ste. 801
     Oakland, California 94612

    VIA U.S. CERTIFIED MAIL
    RETURN RECEIPT REQUESTED

     Howmet Aerospace, Inc.
     c/o CT Corporation System
     Agent for Service of Process
     818 W 7th Street, #930
     Los Angeles, CA 90017

     Schlosser Forge Company
     c/o CT Corporation System
     Agent for Service of Process
     818 W 7th Street, #930
     Los Angeles, CA 90017

    Re:             Notice pursuant to Labor Code Section 2699.3(a)(l)
                    Labor Code Private Attorney General Act ("PAGA")

    Employer:       Howmet Aerospace, Inc. (formerly Arconic, Inc.) and Schlosser Forge Company

    Employee:       David D. Walker, on behalf of himself and on behalf of all current and former
                    hourly employees of Howmet Aerospace, Inc. (formerly Arconic, Inc.) and
                    Schlosser Forge Company

    Dear Secretary Lanier:

    Pursuant to the Private Attorney General Act of 2004, California Labor Code § 2698 et seq.
    ("PAGA"), representative employee, David D. Walker ("Mr. Walker"), on behalf of himself and

                                                                                                        1

       15300 Ventura Boulevard. Suite 207, Sherman Oaks, California 91403
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   all other similarly situated California employees who work or worked for Howmet Aerospace,
   Inc. (formerly Arconic, Inc.) and Schlosser Forge Company, which violated the California Labor
   Code throughout Mr. Walker's employment and within the one year prior to the mailing of this
   letter.

                                             General Facts

   During the relevant one year period before the date Mr. Walker submitted this letter to the Labor
   & Workforce Development Agency ("LWDA"), Mr. Walker worked for Defendants Schlosser
   Forge Company, Arconic, Inc., and Howmet Aerospace, Inc. On information and belief, Arconic,
   Inc. is a dba of Schlosser Forge Company and in 2020 Arconic, Inc. became Howmet Aerospace,
   Inc. Hereinafter, Schlosser Forge Company, Howmet Aerospace, Inc. and Arconic, Inc. are
   collectively referred to as "Defendant." Defendant is an aerospace company that manufactures
   components for jet engines, fasteners and titanium structures for aerospace applications.

   Defendant employed Mr. Walker as a grinder at its facility in Rancho Cucamonga, California,
   for approximately three years until he was laid off in 2020. During his employment by
   Defendant, Mr. Walker and similarly employed individuals were regularly subjected to the
   following violations of California law for which they are entitled to PAGA penalties.

                           Failure to Pay Minimum and Overtime Wages

   At all relevant times, Defendant employed Mr. Walker and other similarly employed individuals
   subject to Labor Code Sections 510, 1194, 1197 and Industrial Welfare Commission ("IWC")
   Wage Order 1. Defendant failed to pay all wages for all hours worked in violation of Labor Code
   Sections 510, 1194, 1197 and Sections 3 and 4 of Wage Order 1.

       1) Failure to Include Incentive Pay in Calculation of Regular Rate of Pay

   During the one year prior to the date of this letter, Mr. Walker and other similarly situated hourly
   employees often earned overtime pay for working more than 8 hours in a day or more than 40
   hours in a week. In addition, Mr. Walker and other similarly situated hourly employees received
   various forms of non-discretionary incentive pay, including but not limited to performance
   bonuses as indicated on their wage statements as "Perf Pay", that are not excludable under
   California law when calculating an employee's regular rate (hereinafter the aforementioned
   forms of pay are collectively referred to as "Incentive Pay").

   Despite Defendant's payment of Incentive Pay to Mr. Walker, and other similarly situated hourly
   employees, Defendant failed to include all forms oflncentive Pay when calculating Mr. Walker's
   regular rate of pay, thereby causing Mr. Walker to be underpaid all of his required overtime wages.
   Instead, Defendant paid Mr. Walker one and one-half times his base rate, which was not equal to


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   one and one-half times the applicable regular rate, as Defendant failed to include the Incentive Pay
   earned during corresponding periods that were required to be included in the regular rate.

   As Defendant failed to pay all overtime wages properly in those pay periods in which Mr. Walker
   and other similarly situated employed individuals earned Incentive Pay, Defendant is liable for
   penalties of $100 per pay period for the first violation within the statutory period, and $200 per
   pay period for each additional violation.

       2) Failure to Pay Minimum and Overtime Wages for Pre-Shift Donning

   Mr. Walker and other similarly employed individuals are/were required to wear protective clothing
   and gear to perform their work, including a work shirt and pants, apron, safety boots, safety glasses,
   ear plugs, helmet, and N95 mask. Hourly paid individuals in other departments and facilities also
   wore similar types of protective clothing and gear required to perform their jobs. Defendant
   maintained lockers where Mr. Walker and similarly situated employed individuals changed out of
   their personal shi1i, pants and shoes and donned the protective clothing and gear before the start
   of their scheduled shift. Defendant required Mr. Walker and other similarly situated employed
   individuals to be dressed in their protective clothing and gear before they clocked in for work. Mr.
   Walker spent approximately ten minutes before each shift donning his protective clothing and gear.
   However, Mr. Walker and other similarly employed individuals are/were only paid from the start
   of their scheduled shift time. Therefore, Defendant did not pay Mr. Walker and other similarly
   situated employed individuals for the approximately 10 minutes of work time required before the
   staii of their scheduled shift time. On shifts less than 8 hours or in weeks in which Mr. Walker
   worked less than 40 hours, Defendant owes Mr. Walker for his unpaid work time at minimum
   wage. On shifts of 8 or more hours or in weeks in which Mr. Walker worked 40 or more hours,
   Defendant owes Mr. Walker for his unpaid work at Mr. Walker's ove1iime rate.

   As Defendant failed to pay all minimum and overtime wages properly, Defendant is liable for
   penalties of $100 per pay period for the first violation within the statutory period, and $200 per
   pay period for each additional violation.

                                        Break Period Violations

       1) Failure to Provide Second Meal Periods

   During Mr. Walker's employment, Defendant regularly failed to provide, authorize, and/or
   permit to Mr. Walker and other similarly employed individuals all uninterrupted 30-minute meal
   periods to which they were entitled under California law.

   Under Labor Code Sections 226.7 and 512, and Wage Order 1, Mr. Walker and other similarly
   situated employees were entitled to a meal period of at least 30 minutes for each workday they

                                                                                                       3
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   worked more than 5 hours in any workday and a second meal period of at least 30 minutes for each
   workday they worked more than 10 hours. Additionally, they were entitled to one additional hour
   of pay for every day that a timely meal period was not provided.

   Mr. Walker regularly worked more shifts lasting longer than 10 hours. Defendant and all other
   similarly employed individuals were released for their meal periods at the same time by their
   supervisor. Mr. Walker did not have discretion when to take his meal periods. Defendant did not
   release Mr. Walker and other similarly employed individuals for their second 30-minute meal
   period when they worked shifts lasting longer than 10 hours.

   Because Defendant released Mr. Walker for his meal break, Defendant knew that he had worked
   shifts on which he was entitled to two meal periods. When said second meal periods were not
   provided, Defendant did not pay meal period premium wages, as required by California Labor
   Code Sections 512,226.7 and Section 11 of Wage Order 1.

   As Defendant failed to provide all meal periods required by California law and did not pay the
   required break premiums when such violations occurred, Defendant is liable for penalties of
   $100 per pay period for the first violation within the statutory period, and $200 per pay period
   for each additional violation.

       2) Failure to Factor in All Forms of Pay When Calculating the Regular Rate for Payment of
          Meal and Rest Period Premiums.

   Labor Code Section 226.7 and Section 1 l(D) of the applicable Wage Order of the Industrial
   Welfare Commission, including Wage Order 1, requires Defendant to pay employees, when their
   rights to meal breaks and rest breaks are violated, "one additional hour of pay at the employee's
   regular rate of compensation" for each workday that the meal or rest period is not provided.
   Defendant's policy and practice of paying missed break premiums has been to pay the break
   premium at the employee's base hourly rate without factoring in other wages paid for the labor
   performed.

   California looks to Federal law in defining "regular rate" and the FLSA defines "regular rate" at
   29 USC§ 207(e) without reference to "of pay", or "of compensation":

           ( e) "Regular rate" defined
           As used in this section the "regular rate" at which an employee is employed shall be deemed
           to include all remuneration for employment paid to, or on behalf of, the employee ....
           (emphasis added.)

   The "all remuneration" requirement compels employers, in dete1mining "regular rate" for an
   hour of work, to incorporate all remuneration an employee is paid for the hour (e.g. bonuses,

                                                                                                       4
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   shift differentials, commissions, hourly pay, piece work wages, etc.).

   During the one-year period prior to the date of submitting this letter, Defendant paid Mr. Walker
   and other similarly employed individuals break premiums at their base hourly rate without
   factoring in other wages paid for the labor performed, including incentive bonuses and shift
   differentials, among other things.

   As Defendant failed to pay Mr. Walker and other similarly employed individuals break
   premiums at their correct regular rate of compensation under California, Defendant is liable for
   penalties of $100 per pay period for the first violation within the statutory period, and $200 per
   pay period for each additional violation.

                                     Inaccurate Wage Statements

   Mr. Walker and similarly employed Californians received wage statements that did not list all
   wages earned, including the minimum, overtime and premium wages discussed above. As the
   above infractions explain, Mr. Walker and similarly employed persons were entitled to
   minimum, overtime and premium wages that were not paid and, therefore, are entitled to penalty
   payments pursuant to Labor Code Section 226.

                                         Unpaid Final Wages

   Mr. Walker (and others) have ceased their employment with Defendant. Upon the cessation of
   that employment relationship (and as prescribed by statute), they did not receive all wages owed.
   Namely, said former employees (including Mr. Walker) did not receive all of their minimum and
   overtime wages due to Defendant's failure to include Incentive Pay in the calculation of their
   regular rate of pay and due to Defendant's failure to pay for pre-shift donning of protective
   clothing and gear. Mr. Walker and those similarly situated, upon termination, did not receive all
   owed wages on the date of termination. Therefore, Defendant has violated and continues to
   violate Labor Code Sections 201 and 202, because even if it pays employees timely, it has not
   paid the aforementioned wages and wage penalties.

                                         Failure to Reimburse

   As discussed above, Defendant requires employees to wear certain articles of protective gear
   including masks and safety boots while they work. Defendant was required to provide N95
   masks to Mr. Walker and other similarly employed individuals; however, once the Coronavirus
   pandemic started, not only did Defendant no longer provide N95 masks to Mr. Walker and
   others, Defendant provided no masks and required Mr. Walker and other similarly employed
   individuals to procure their own masks at their own expense. In order to protect himself and


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   comply with the mask requirement, Mr. Walker purchased disposable single use masks at a cost
   of approximately $4 per mask per workday without reimbursement. Mr. Walker worked three
   days per week. Similarly, Defendant was supposed to provide safety boots to Mr. Walker and
   other similarly employed individuals. However, when individuals needed new boots, Defendant
   did not provide employees with a new boot voucher to buy a replacement pair of boots.
   Employees were required to purchase replacement boots at their own expense without
   reimbursement.

   Pursuant to California Labor Code Section 2802:

                   "An employer shall indemnify his or her employee for all
                   necessary expenditures or losses incurred by the employee in direct
                   consequence of the discharge of his or her duties, or of his or her
                   obedience to the directions of the employer ... "

   Wage Order 1, Section 9(B) also states that an employer shall provide necessary tools or
   equipment, except in cases where the employee is paid two times the minimum wage.

   At the time he was laid off, Mr. Walker was paid $16.4285 per hour. Similarly situated
   employees are also paid less than two times the minimum wage. As such, Defendant is required
   to provide all necessary tools and equipment. Moreover, pursuant to Labor Code Section 2802,
   Defendant is required to reimburse all necessary expenditures. Here, Defendant is required to
   indemnify Mr. Walker and all similarly situated employees for masks and replacement boots
   purchased in direct consequence of the discharge of their duties. Therefore, Defendant has
   violated Labor Code Section 2802, by requiring its employees to purchase their own masks and
   replacement boots and failing to reimburse the expense.

   As Defendant failed to reimburse Mr. Walker and other similarly employed individuals for
   business expenses they incurred in violation of Section 2802, Defendant is liable for penalties of
   $100 per pay period for the first violation within the statutory period, and $200 per pay period
   for each additional violation.

                                             Civil Penalties

   As a result of the foregoing, Defendant is liable for civil penalties as provided for by California
   law. Consequently, Mr. Walker and all other similarly employed persons that worked at
   Defendant's facilities in California are entitled to recover all penalties permitted by the Labor
   Code and penalties provided for under California law, including but not limited to Labor Code §
   2698 et seq.



                                                                                                     6
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    Defendant violated and continues to violate the obligation to pay all minimum and overtime
    wages, to make available legally compliant meal breaks, pay break premiums at the correct rate,
    issue legally compliant wage statements, pay all final wages, and reimburse all necessary
    expenditures. Mr. Walker requests the agency to investigate the above allegations and provide
    notice of the investigation and findings pursuant to PAGA's provisions. Alternatively, Mr.
    Walker requests that the agency inform him if it does not intend to investigate these violations so
    that he may file a lawsuit with respect to the allegations discussed in this letter. Thank you for
    your immediate attention to this matter. If you have any questions, please do not hesitate to
    contact me at (310) 982-2984.

   Sincerely,
   MOSS BOLLINGER, LLP




                                                                                                     7
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                  EXHIBIT 2
                                     to
       Motion for Leave to File First
                Amended Complaint
      Walker v. Howmet Aerospace
            Case No. CIVDS2022311
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 8 Attorneys for Plaintiff
   DAVID WALKER
 9
                                SUPERIOR COURT OF CALIFORNIA
10
                                 COUNTY OF SAN BERNARDINO
11
   DAVID WALKER, an individual, on behalf of    Case No. CIYDS20223 I I
12 himself and all others similarly situated,
                                                (Assigned for all purposes to Hon. David
13                Plaintiffs,                   Cohn, Dept. S-26)
14          vs.                                 FIRST AMENDED COMPLAINT FOR
                                                DAMAGES
15 HOWMET AEROSPACE, INC., a Delaware
   corporation; SCHLOSSER FORGE                 l.      PENALTlES PURSUANT TO
16 COMPANY, a Delaware corporation; and                 PRIVATE ATTORNEY GENERAL
   DOES 1-50,                                           ACTOF2004
17
                                                2.      FAILURE TO PAY MINIMUM
                 Defendants.
18                                                      WAGES
                                                3.      FAILURE TO PAY OVERTIME
19                                                      WAGES
                                                4.      FAILURE TO PROVIDE
20                                                      ADEOUA TE MEAL PERIODS AND
                                                        PAY ALL PREMIUMS OWED
                                                5.      FAILURE TO PAY ALL REST
21
                                                        PERJOD PREMIUMS
22
                                                6.      FAILURE TO FURN ISH
                                                        ACCURATE lTEM IZED WAGE
23                                                      STATEMENTS
                                                7.      FAILURE TO TIMELY PAY ALL
24                                                      WAGES UPON CESSATION OF
                                                        EMPLOYMENT
25                                              8.      FAILURE TO REIMBURSE
                                                        BUSINESS EXPENSES
26                                              9.      UNFAIR COMPETITION

27                                              DEMAND FOR JURY TRIAL

28
                                   FIRST AMENDED COMPLAINT
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             Plaintiff David Walker ("PLAINTIFF"), on behalf of himself, other similarly aggrieved

 2 employees of Defendants Howmet Aerospace, Inc. and Schlosser Forge Company, and on behalf
 3
     of the State of California, hereby complains and alleges as follows:
 4
                                                  INTRODUCTION
 5
             l.           This is a class and representative action by PLAINTIFF on behalf of himself, other
 6
     similarly aggrieved employees, and the State of California against defendants Howmet Aerospace,
 7
     Inc. and Sch losser Forge Company and Doe Defendants 1-50 (collectively, "DEFENDANTS"),
 8
     pursuant to the California Private Attorney General Act, Labor Code sections 2698 et seq.
 9
     ("PAGA") to recover civil penalties (75% payable to the Labor Workforce Development Agency
10
     and 25% payable to aggrieved employees) and remedies under Code of Civi l Procedure§ 382 for
11
     failure to pay all minimum and overtime wages, failure to provide adequate meal breaks, failure to
12
     correctly pay meal and rest break premiums, failure to provide accurate wage statements and failure
13
     to timely pay all wages upon cessation of employment and failure to reimburse business expenses
14
     to PLAINTIFF and other similarly aggrieved employees of DEFENDANTS in California.
15
                                               JURISDICTION AND VENUE
16
             2.       This Court has jurisdiction over this action under Article 6 of the California
17
     Constitution and California Code of Civil Procedure§ 4 I 0.10.
18
             3.       This Court has jurisdiction over Plaintiff's and Class Members' claims for unpaid
19
     m inimum wages, unpaid overtime wages. meal period violations. rest break violations. fa ilure to
20
     reimburse fo r business expenses and waiting time penalties under California Labor Code § 218.
21
             4.       This Court has jurisdiction over Plaintiffs and the Class Members' claims for
22
     restitution of ill-gotten benefits arising from Defendant's UI1lawful and/or unfair business
23
     practices under Cali fornia Business & Professions Code §§ 17200 el seq.
24
             2-:_5_
                . _ This Court has jurisdiction over PLAINTIFF's claims for penalties pursuant to
25
     PAGA.
26
                      Venue is proper in this Judicial district and the County of San Bernardino pursuant
             ~....!...-

27
     to California Code of Civil Procedure§ 395.5 because DEFENDANTS employed PLAINTrFF at
28
                                                           1
                                            FIRST AMENDED COMPLAINT
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 52 of 105 Page ID #:127




 1 its facility in Rancho Cucamonga, California, in the County of San Bernardino, and the acts,

 2 omissions, and conduct alleged by PLAINTIFF herein occurred in thjs county.

 3                                                 PARTIES
 4          ~_7_
               . _ Plaintiff David Walker is a resident of San Bernardino County, California.
 5 PLAJNTIFF was hired by Defendant Schlosser Forge Company dba Arconic, Inc., a Delaware

 6 corporation, as a grinder at its facility in Rancho Cucamonga, California, in or around 2017. In

 7 2020, Arconic, Inc. became Howmet Aerospace, Inc., a Delaware corporation. PLAINTIFF worked

 8 for DEFENDANTS until he was laid off in the summer of2020 by Howmet Aerospace, 1nc.

 9          ~ _8_
                . _ PLAINTIFF is informed and believes that DOES l through 50 are corporations,
10 individuals, limited liability partnerships, jjmited liability companies, general partnerships, sole

11   proprietorships or are other business entities or organizations of a nat ure not currently known to

12 PLAINTIFF.

13          e-;_9 . _PLAJNTTFF is unaware of the true names of Defendant DOES 1 through 50.

14 PLAINTIFF sues said Defendants by said fictitious name, and will amend this complaint when the

15 true names and capacities are ascertained or when such facts pertaining to liability are ascertained,

16 or as permitted by law or by the Court. PLAINTIFF is informed and believes that each of the

17 fictitiously named Defendants is in some manner responsible for the events and allegations set fotth
18   in this complaint.

19          -7-:-l.Q,_PLAINTIFF is informed and believes, and thereon alleges, that at all times herein

20   mentioned each Defendant, including all Defendants sued under fictitious names, was the

21   employee, or representative of each of tbe remaining Defendants, and in doing the things

22 hereinafter alleged, was at times acting within the course and scope of this employment, and at

23 other times, acting in his or her own individual capacity. In the alternative, each of the individually

24 named Defendants, acted in concert and in fu1therance of a fraudulent plan and scheme and each

25 actively participated in the wrongful acts alleged in thjs complaint.

26
27

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                                                       2
                                        FIRST AMENDED COMPLAINT
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                                        FACTUAL BACKGROUND
 2          8-:_I I_. _ At all times during the liability period, DEFENDANTS employed PLAINTIFF and

 3 other similarly situated hourly paid employees to perform services at DEFENDANTS' facilities

 4   throughout California.

 5          -9-.12___When working in DEFENDANTS' facility, including during the one year period

 6   before PLAINTIFF notified DEFENDANTS and the L WDA of his claims, in violation of Labor

 7   Code Sections 510, l 194, 1197 and subsections 3 and 4 of applicable Industrial Welfare

 8 Commission (" IWC") Wage Orders, including Wage Order l , PLALNTIFF and other similarly

 9   situated aggrieved employees were suffered and permitted to work before the start of their shifts to

IO don protective clothing and gear that was necessary for them to perform their work, including a
11   work shirt and pants, apron, safety boots, safety glasses, ear plugs, helmet, and N95 mask.

12   DEFENDANTS maintained lockers where PLAINTIFF and other simi larly situated employed

13   individuals changed out of their personal shirt, pants and shoes and donned the protective clothing

14   and gear before the start of their scheduled shift. DEFENDANTS required PLAINTIFF and other

15   similarly situated employed individuals to be dressed in their protective clothing and gear before

16 they clocked in for work. PLAINTIFF performed this work with the knowledge of and at the

17 direction of his supervisors.

18          +0-:-lPLAINTIFE< spent approximately ten minutes before each shift donning his

19   protective clothing and gear. However, PLALNTIFF and other similarly employed individuals were

20 only paid from the statt of theis scheduled shift time. Therefore, DEFENDANTS did not pay

21   PLAINTIFF and other s imilarly situated employed individuals for the a pproximately l O minutes of

22   work time required before the start of their scheduled shift time. On shifts less than 8 hours or in

23   weeks in which PLAINTIFF worked less than 40 homs, DEFENDANTS owe PLAINTIFF for h is

24   unpaid work time at minimum wage. On shifts of 8 or more hours or in weeks in which

25 PLAINTIFF worked 40 or more hours, Defendant owes PLAINTIFF fo r his unpaid work at

26 PLALNTIFF's overtime rate.

27

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                                                       3
                                        FIRST AMENDED COMPLAINT
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 l          +-h-.1.i_During his e1Hployment by DEfEl'ID,6.'.NTS, PLArNTffF and olher similarly

 2 situated employed individ,,mls often earned ove,time pay for •uorking more than 8 hours in a day or

 3 more thaft 40 hours in a weelc. During the sa1=ne pay periods in which he earned overtin1e, he also

 4 ·was, al times, paid additi01ml non diseretionary incenfr;e ray (reflected on the.ir wage statements as

 5 .;Perf Pay"). This incentive pay111ent is not e~(Cludable under California law when calculating an

 6 emplo:,·ee' s regular rate. Accordingly, DEFENDAJ>.ITS were required to include the anwunt of this
.7 "Perf Pay" payment when calculating PLAfNTIFF's regular rate of pay for the payment of
 8 overtime. DefE~iDANTS failed to do so. Instead, they only paid overtime on PLAl}.1T1FF's base

 9 hourly rate. DEFENDANTS continued this practice of failing to include incentive pay when

10 ealeulatir1g the regular rate of pay for d1e aggrieved employees who worked during 1:l~e one year

11   period ,~reeeding the date PLAll'JTIFF gave notice to DEFENDANTS and the LWDA of these

12   ela-ims. Accordingly, DEFEN DANTS violated Labor Code Section 510 and lWC Wage Order I,
13   subsection 3.

14          +±l.i_Labor Code § 512 generally requires that employees working shifts of more than

15 five hours be provided with a meal period within the first five hours of work, and that employees

16 working shifts of more than ten hours be provided with a second meal period. Lab. Code§ 5 12; see

17 also Section 11 of the applicable Wage Orders, including Wage Orders 1. Employees are,

18 therefore, entitled to one additional hour of pay at the employee's regular rate of pay for every day

19 that a meal period was not provided or is provided late. See id.; Lab. Code§ 226.7(c).

20          -i-J.,.12:_During PLAINTIFF's employment, PLAINTIFF regularly worked shifts lasting

21   longer than 10 hours. PLAINTIFF and all other similarly employed individuals were released for

22   their meal periods at the same time by their supervisor. PLAINTIFF did not have discretion when to

23   take his meal periods. DEFENDANTS did not release PLAINTIFF and other similarly employed

24   individuals for their second 30-minute meal period when they worked shifts lasting longer than 10

25   hours. Accordingly, DEFENDANTS regularly failed to provide, authorize, and/or permit to

26 PLAINTIFF and other similarly employed aggrieved employees to take a second meal period on

27 shifts over ten hours, as required by California law. DEFENDANTS did not pay PLAINTIFF and

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                                                     4
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     the other similarly situated aggrieved employees an additional hour as premium pay, as required by

 2   California law.

 3          #.lL_Labor Code Section 226.7 and Section l l(D) of the applicable IWC Wage Order,

 4 including Wage Order 1, requires DEFENDANTS to pay employees, when their rights to meal

 5   breaks and rest breaks are violated, "one additional hour of pay at the employee's regular rate of

 6 compensation" for each workday that the meal or rest period is not provided. When

 7   DEFENDANTS pay break premiums, DEFENDANTS' policy and practice has been to pay the

 8 break premium at the employee's base hourly rate without factoring in other wages paid for the
 9 labor performed.

10          ~il.,_California looks to federal law in defining "regular rate" and the FLSA defines

11 "regular rate" at 29 USC § 207(e) without reference to "of pay", or "of compensation":

12          (e) "Regular rate" defined

13          As used in this section the "regular rate" at which an employee is employed shall be deemed
            to include all remuneration for employment paid to, or on behalf of, the employee ....
14          (emphasis added.)

15          +6-:-l.2,_The "all remuneration" requirement compels employers, in determining " regular

16 rate" for an hour of work, to incorporate all remuneration an employee is paid for the hour ( e.g.

17   bonuses, shift differentials, commissions, hourly pay, piece work wages, etc.).

18          ~20. During the one-year period prior to the date of submitting this letter,

19 DEFENDANTS paid PLAINTIFF and other similarly employed individuals break premiums at

20 their base hourly rate without factoring in other wages paid for the labor performed, including

21   incentive bonuses and shift. differentials, among other things.

22          -l-&-2 1. At a ll times during the liability period, PLAINTIFF and other similarly situated

23   seasonal employees did not receive all money owed them at the time their employment with

24   DEFENDANTS ceased and still have not received such pay.

25          +9,.22. During the one-year period prior to the date of submitting this letter,

26 DEFENDANTS issued wage statements to PLAINTIFF and similarly situated employed

27   individuals that did not list all wages earned, including the minimum, ove1time and premium wages

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                                                       5
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     discussed above. As the above infractions explain, PLAINTIFF and similarly employed persons

 2 were entitled to n1i11imum, overtime and premium wages that were not paid and, therefore,

 3 DEFENDANTS violated and continue to violate the provisions ofLabor Code Section 226.

 4          ~23. PLAINTIFF (and others) have ceased their employment with DEFENDANTS. Upon

 5 the cessation of that employment relationship (and as prescribed by statute), they did not receive all

 6   wages owed. Namely, said former employees (including PLAINTIFF) d id not receive all of their

 7   minimum and overtime wages due to DEFENDANTS' failure to include fneenti't1e Pay in the

 8   calculation of their regular rate of pay and due to DEFENDANTS' failure to pay for pre-shift

 9 donning of protective clothing and gear. PLAINTIFF and those similarly situated, upon

10 termination, did not receive all owed wages on the date of termination. Therefore, DEFENDANTS

11   have violated and continue to violate Labor Code Sections 201 and 202.

12          2-h24. As alleged above, DEFENDANTS required PLAINTIFF and other similarly situated

13 employed individuals to wear certain articles of protective gear including masks and safety boots

14 while they work. DEFENDANTS were required to provide N95 masks to PLAINTIFF and other

15 similarly employed individuals; however, once the Coronavirus pandem ic started, not only did

16 DEFENDANTS no longer provide N95 masks to PLAINTIFF and others, DEFENDANTS

17 provided no masks and required PLAINTIFF and other similarly employed individuals to procw·e

I8   their own masks at their own expense. ln order to protect himself and comply with the mask

l9   requirement, PLAINTIFF purchased disposable s ingle use masks at a cost of approximately $4 per

20   mask per workday without reimbursement. PLAINTTFF worked three days per week. Similarly,

21   DEFENDANTS were supposed to provide safety boots to PLAINTIFF and other similarly

22 employed individuals. However, when individuals needed new boots, DEFENDANTS did not

23   provide employees with a new boot voucher to buy a replacement pair of boots. Employees were

24 required to purchase replacement boots at their own expense w ithout reimbursement.

25          ~25. Labor Code§ 2802 provides that "[a]n employer shall indemnjfy his or her

26 employee for all necessary expenditures or losses incurred by the employee in direct consequence

27 of the discharge of his or her duties." Wage Order l, Section 9(B), a lso states that an employer shall

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                                                      6
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 l   provide necessary tools or equipment, except in cases where the employee is paid two times the

 2   minimum wage.

 3          2-J-:26. At the time PLAINTIFF was laid off, PLAJNTIFF was paid $16.4285 per hour.

 4   Similarly situated employees are also paid less than two times the minimum wage. As such,

 5 DEFENDANTS were required to provide all necessary tools and equipment. Moreover, pursuant to

 6   Labor Code Section 2802, DEFENDANTS were required to reimburse aJI necessary expenditures.

 7 Here, DEFENDANTS were required to i11demnify PLAINTIFF and all similarly situated employees

 8 for masks and replacement boots purchased in direct consequence of the discharge of their duties.

 9 Therefore, DEFENDANTS have violated Labor Code Section 2802 by requiJing its employees to

10 purchase their own masks and replacement boots and fail ing to reimburse the expense.

11                     COMPLIANCE WITH NOTIFICATION REQUIREMENTS

12          24.27. On July 29, 2020, PLAINTIFF, through his counsel, sent a certified letter to the

13   California Labor and Workforce Development Agency ("LWDA") informing it that

14 DEFENDANTS failed to meet their obligations under California law with regard to the vio lations

15   alleged in this complaint ("PAGA Letter"). Attached hereto as Exhibit A is a true and correct

16 copy of the July 29, 2020 Jetter also sent to DEFENDANTS at the offices of their Agents for

l 7 Service of P rocess.

18          £28. To date, more than 65 days after July 29, 2020 PAGA Letter was mailed, the

19 L WDA has not responded.

20          ~29. The PAGA Letter outlined PLAINTIFF's claims for v iolations of the California

21   Labor Code and the applicable wage orders on behalf of himself, the State of California and other

22   aggrieved employees.

23          2-+-30. Accordingly, PLAINTIFF exhausted administrative remedies as required by Labor

24   Code § 2699 .3.

25                      CLASS DEFINITIONS AND CLASS ALLEGATIONS

26          31.    PLAINTIFF brings this action on behalf of himself. on behalf of a ll others

27 similarly situated, and as members of Classes defined as fol lows:

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                                                     7
                                      flRST AMENDED COMPLAINT
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 l               a. Break and Unpaid Wages Class: All persons emploved as a non-exempt
 2                  emplovee by DEFENDANTS in California at anv time from October 13,2016
 3                  through the date Notice is mailed to the Class.
 4               b. Break Premium Re!rnla.r Rate Class: All members of the Break & Unpaid Wages
 5                  Class who were paid a meal or rest break premium by DEFENDANTS in
 6                  California at any time from October 13.2016 through the date Notice is mailed
 7                  to the Class
 8               c. Donning and Doffing Class: All members of the Break & Unpaid Wages Class
 9                  who were required by DEFENDANTS to don and/or doff protective clothing
10                  and gear that was necessary for them to perform their work, including a work
11                  shirt and pants. apron. safety boots, safctv glasses, ear plugs. helmet. and/or N95
12                  mask in California at any time from October 13, 2016 through the date Notice is
13                  mailed to the Class.
14               d. Wage Statement Class: All members of Lhe Break and Unpaid Wages Class who
15                  were emploved bv DEFENDANTS in California at any time from October 13.
16                  2019 throu!!h the date Notice is mailed to the Class.
17               e. Waiting Time Pena lty Class: All members of the Break and Unpaid Wages
18                  Class who were employed by DEFENDANTS in California at anv time from
19                  October 13, 2017 through the date Notice is mailed to the Class. including. but
20                  not limited to, anyone who may have been reemployed by DEFENDANTS after
21                  their prior employment ended.

22               f. Reimbursement Class: All members of the Break & Unpaid Wages Class who
23                  were required by DEFENDANTS to wear N95 masks and/or safety boots in U1e
24                  performance of their work duties for DEFENDANTS in Cali fornia at any time
25                  from October 13, 2016 through the date Nolice is mailed to the Class.
26         32.      This action bas been brought and mav be properlv maintained as a class aclion
27 pursuant to the provisions of California Code of Civil Procedure § 382 and other applicable law.
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 l          33.     Numerositv: Code of Civil Procedure§ 382: members of the Class are so

 2 numerous that their individual joinder is impracticable. The precise number of Class members

 3 and their addresses are unknown to PLAlNTlFF. However, PLAfNTI FF is informed and

 4 believes that the number can be obtained from DEFENDANTS' records. Class members may be

 5 notified of the pendency of this action by mail. electronic mail, the lnlernet. or published notice.
 6          34.     Existence of Predominance of Common Questions of Fact and Law: Code of

 7 Civi l Procedure§ 382: Common questions of law and fact ex isl as to al l members of the Class.

 8 These questions predominate over anv questions effecting only individual members or the class.
 9 These common factua l and legal questions include:

10                 (a) Whether DEFENDANTS failed to compensate members of the Break and
11                     Unpaid Wages Class for all overtime owed.
12                 (b) Whether DEFENDANTS failed to provide members of the Break and Unpaid
13                     Wages Class timelv, thirty (30) minute uninterrupted meal breaks as
14                     contemplated by California law;

15                 (c) Whether DEFENDANTS violated the applicable lWC Wage Orders and
16                     Labor Code Sections by failing to provide members of the Break and Unpaid
17                     Wages Class second meal periods on shifts over ten ( I 0) hours:
18                 (d) WhetJ1cr DEFENDANTS failed to factor incentive bonuses and/or shirt
19                     differentials into the calculation of the payment of break premiums to

20                     members of the Break Premium Regular Rate Class.
21                 (e) Whether California law requires DEFENDANTS to factor incentive bonuses
22                     and/or shift differentials into the calculation of the payment of break
23                     premiums to members of the Break Premium Regu lar Rate Class.
24                 (Q Whether DEFENDANTS failed to pay members of the Break and Unpaid

25                     Wages Class for time members of the class took to don and doff protective
26                     clothing and gear prior to the start of their shifts.
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  1                  (g) Whether DEF EN DANTS fa iled to provide members of the Waiting Time
 2                       Penalty Class all wages owed, inc luding overtime wages. break premiums. at
 3                       the time of the cessation of the employee-employer relationship:
 4                   (h) Whether DEFENDANTS fa iled to reimburse members of the Reimbursement
 5                       Class for the cost of masks and boots members of the class purchased for use
 6                       at work:
 7                   (i) Whether DEFENDANTS commi tted unlawfu l business practices or acts
 8                      within the meaning of Business & Professions Code Sects. I 7200 et seq.:
 9                   (j) Whether hourly paid employees are entitled to premium wage waiting time

10                      penalties, inaccurate wage statement penalties and other relief in conjunction
11                      with their mea l and rest break c laims;
12                   (kl Whether, as a conseq uence of DEFENDANTS' unlawful conduct. the Class
13                      members are entitled to restitution, and/or equ itable relief;
14                   (I) Whether DEFENDANTS ' affirmative defenses. if any. raise anv common

15                      issues o ( law or fact as to Plainti ff and the Classes members as a whole.
16           35.    Tvpicality: PLAINTlFF's claims are typical of the claims of lhe members of

17 each Class because PLAINTIFF, as a non-exempt employee. was exposed to lhe same unlawful

18 business practices as Lhe members of the classes. PLAINT[FF sustained the same types of

19    injuries and losses that the class members sustained. PLAINTIFF is subject to the same

20 affirmative defenses as the members of the class.
21           36.    Adeguacv: PLAlNTTFF w ill adequately and fa irly protect the interests of the

22 members of the Classes. PLA TN TIFF has no interest adverse to the interests of absent Class

23 members. PLAINTIFF is represented by legal counsel who has substantial class action
24 experi ence in civil litigation and employment law.

25           ~37. Superiority: A class action is superior to otJ1er available means fo r fa ir and
26 eflicient adjudication of the claims of the Classes and wou ld be beneficial for the parties and the

27 cou1t. Class action treatment will allow a large number of similarly situated persons to prosecute
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     the ir commo n cla ims in a single fo rum. s imul taneously. effi c ientlv. and w itho ut the unnecessary

 2   dupl ication of effort and expense tha Lnumerous indiv idual actions would require. The monetary

 3   amounts due to many ind ividual C lass members are likely to be rela tive ly sma ll, and the burden

 4   and expense of individua l litigation would make it d ifficult or impossible for individua l members

 5   of the C lass to seek and obtain re lief. A class actio n w ill serve an importa nt public interest by

 6   permitting suc h indiv idua ls to effectively pursue recovery of the sums owed to them. Ft11the r.

 7   c lass litigation prevents the potential fo r inconsistent or contradictory judgments ra ised by

 8   indi vidual litigation.

 9                                        FIRST CAUSE OF ACTION

10                                    CIVIL PENALTIES UNDER PAGA

11                  (By PLAINTIFF and Aggrieved Employees against DEFENDANTS)

12           ~38. PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if fully

l 3 a lleged herein.

14           -3-0,.39. Under the Private Attorney General Act, Labor Code§§ 2698-99 ("PAGA"), private

15   parties may recover civil penalties for violations of the California Labor Code, including sections

16 510, 512, 1194, 1197, 2802, 20 I, 202, 203, 226, 226.7 and the Industrial Welfare Commission's

J7 ("IWC") Wage Orders, including JWC Wage Order 1. PAGA penalties are in addition to any other
18   relief available under the Labor Code.

19           J+:-40. As set forth above, DEFENDANTS violated the California Labor Code by

20 consistently failing to employ PLAINTIFF and other similarly s ituated employees in compliance

21   w ith California law.

22           32.4 1. At all times relevant to this action, PLAINTIFF and other aggrieved employees were

23 employees of DEFENDANTS entitled to the benefits of the IWC Wage Orders, including Wage

24 Orders l.

25           33.42. At all times relevant hereto, Cal ifornia Labor Code §§ 510, l l 94(a) and 1197 and

26 the applicable wage orders, have required DEFENDANTS to pay their employees the applicable

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 1 minimum wage for all hours worked and overtime wages for all hours worked over 8 hours in a day
 2 and over 40 hours in a week.

 3          :MA-3. PLAINTIFF and the other aggrieved employees were not paid by DEFENDANTS,

 4   during the relevant period, the applicable minimum and ove1time wages for all hours worked

 5   because DEFENDANTS required PLAINTIFF and others to perform work off the clock before the

 6 start of their shift for which DEFENDANTS did not pay them, as alleged above.

 7          35.44. At all relevant times, PLAINTIFF and the other aggrieved employees were

 8 employees of DEFENDANTS covered by Labor Code Sections 510 and l L94 and the applicable

 9   wage orders.

10          ¼-:45. By failing to correctly pay PLAINTIFF and the other aggrieved employees for all

11 overtime how-s worked, including by failing to include all non discretionary ineenth·e payments in

12   DEl=ENDANTS ' calculation of the regular rate of pay for the payment ofo~·ertime,

13 DEFENDANTS w illfully breached their obligation to pay overtime wages, violating the provisions

14 of Labor Code sections 510 and 1194 and the applicable wage orders.

15          J+:46. By fa iling to pay PLAINTIFF and other aggrieved employees who performed pre-

16 shift work, DEFENDANTS willfully breached their obligations under Section 5 of the applicable
17 wage orders, including Wage Orders I.

18          38.47. At all relevant times, PLAINTIFF and other aggrieved employees were employees

19 of DEFENDANTS covered by the meal period provisions of Labor Code Sections 226.7 and 512,

20   and the applicable wage orders, including Wage Orders 1.

21          J..948. Pw-suant to Labor Code Sections 226.7 and 512, and the applicable wage orders,

22 PLAINTIFF and other aggrieved employees were entitled to a meal period of at least 30 mjoutes for

23   each workday they worked more than 5 hours in any workday, and one additional hour of pay for

24 eve1y day that a timely meal period was not provided.

25          4049. DEFENDANTS fai led to provide PLAJNTIFF and other aggrieved employees with

26 timely, uninterrupted, duty free meal periods in accordance with Labor Code Section 226.7 and

27   512, and the applicable wage orders. During the relevant period, DEFEN DANTS maintained and

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     continue to maintain a policy or practice of failing to provide aggrieved employees, including

 2 PLAINTIFF, with second meal periods on shifts· over LO hours, as alleged above.

 3           4-h50. DEFENDANTS failed to provide PLAINTIFF and other aggrieved employees the

 4   additional hour of pay required by Labor Code Section 226. 7 and the applicable wage orders for the

 5 meal period violations alleged herein. PLAINTIFF is informed and believes and thereon alleges

 6   that at all relevant times withjn the relevant period, DEFENDANTS maintained and continue to

 7 maintain a policy or practice of not paying additional pay to employees fo r meal period v iolations,

 8 and when DEFENDANTS do pay premiums for meal and rest break violations, DEFENDANTS

 9   have maintained and continue to maintain a policy or practice of fai ling to include all forms of

10   compensation in its calculation of those premiwns payments, as alleged above.

11           4±.-iL_Pursuant to Labor Code Section 201, PLAINTIFF and other similarly aggrieved

12 employees were entitled upon cessation of employment with D EFENDANTS to timely payment of

13   a ll wages earned and unpaid prior to termination and/or discharge, inc luding layoff. Employees

14 who were discharged were entitled to payment of al I wages earned and unpa id prior to discharge

15   immediately upon tennination. Pursuant to Section 202, employees who voluntarily terminated

16 their employment with DEFENDANTS were entitled to timely payment of all wages earned and

17 unpaid within 72 hours of giving noti.ce of their resignation.

18           43-:-52. DEFENDANTS fai led to pay PLAINTIFF and other aggrieved terminated

19   employees all wages earned and unpaid prior to termination timely in accordance w ith Labor Code

20   Sections 201 and 202. PLAlJ>ITlFF is infonned aad believes and thereon alJeges toot iH all relevant

21   times 1Nilhii~ the applicable limitations period, DEFENDAl>lTS maintained and eomim1e lo maintain

22 a 190l iey or pmetiee of not paying term ina{ed ernployees al I lhei:r f'iRal v,1ages earned before

23   termi,mtion or layoff due under Labor Code Sections 20 I and 202.

24          44.-53. D EFENDANTS' failure to pay PLAINTIFF and other terminated employees all

25   wages earned prior to termination in accordance with Labor Code Sections 20 l and 202 was wi1Jful.

26 DEFENDANTS had the ability to pay all wages earned by employees prior to termination in

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 1 accordance with Labor Code Sections 20 I and 202, but intentionally adopted policies or practices

 2 incompatible with the requirements of Section 201 and 202.

 3          #-,-54. Pursuant to Labor Code Section 203, PLAINTIFF and other terminated employees

 4 were entitled to continuation of their wages, from the day their earned and unpaid wages were due

 5 upon termination until paid, up to a maximum of30 days. DEFENDANTS did not comply with

 6 their obligations under Section 203.

 7          46:-55. DEFENDANTS failed to reimburse PLAINTIFF and other aggrieved employees for

 8 necessary expenditures or losses incurred by the employees in direct consequence of the discharge

 9   of their duties in violation of Labor Code Section 2802.

10                                   SECOND CAUSE OF ACTION

11                              FAILURE TO PAY MINIMUM WAGES

12           (Bv PLAINTIFF and the Donning and Doffing Class Against All Defendants)

13          56.      PLAINTIFF incorporates all of the foregoing paragraphs of th is compl ainl as if
14 full y alleged herein.

15          57.      Al all relevant times. PLATNTTFF and U1e other members of the Donnin g and

16 Doffin g Class were employees of DEFENDANT covered by Labor Code Section 1197 and 1WC

17 Wage Order 14.

18          58.      Pursuant to Labor Code Section I 197 and Wage Order 14, PLAINTlFF and the

19 other members of the Donning and Doffing Class were entitled to receive mini.mum wages fo r all

20   hours worked.

21          59.      DEFENDANT fa iled to pay PLA INTIFF and other members of the Donning and

22 Doffing Class minimum wages for all hours worked in violation of Labor Code Section 1197 and

23   Wage Order L. PLAINTIFF is informed and believes and thereon alleges that at all relevant

24 times wiU1in the applicable limitations period, DEFENDANTS maintained and continue to

25   maintain a policy or practice of requirin g PLA lNTTFF and putative class members lo pe1form

26   various duties before the start of their scheduled shifL lheir meal break and after their scheduled
27

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     sh ift and meal breaks. including the donning and doffing of protective clothing and gear. but

 2 does not pav those emplovees for the time it takes them to don and doff their apparel.

 3          60.     As a result of DEFENDANTS' unlawful conduct. PLAINTlFF and other

 4 members of the Donning and Doffing Class have suffered damages in an amount. subject to

 5 proofs to the extent they were not paid minimum wages for all hours actually worked.

 6          4+:6 1. Pursuant to Labor Code Sections 1197 and Wage Order I. PLAINTIFF and other

 7 members of the Donning and Dofiing Class are entitled to recover the full amount of unpaid

 8 minimum wages. prejudgment interest. liquidated damages, reasonable attornev's fees and costs of

 9 suit.

10                                    THIRD CAUSE OF ACTION

11                             FAILURE TO PAY OVERTIME WAGES

12                (Plaintiff and the Donning and Doffing Class Against All Defendants)

13          62.      PLAINTCFF incorporates all of the foregoing paragraphs of this complaint as ir

14 fully alleged herein.

15          63.     At al l relevant times. PLATNTTVF and other members of the Donning and Doffing

16 Class were employed by DEFENDANTS and covered by Labor Code Section 5 10 and Wage

17 Order I.

18          64.     Pursuant to Labor Code Section 510 and Wage Order I. PLA[NTIFF and other

19 members of lhe Donning and Doffing Class were entitled to overtime wages payable at the rate

20 of at least one and one-half times their regular rate of pay for all work more than 8 hours in one

21   workdav.

22          65.     PLAINTIFF is informed and believes and thereon alleges that at al l relevant times

23 within the applicable limitations period, DEFENDANTS maintained and continue to maintain a

24 policy or practice of requiring PLAINTIFF and members of the Donning and Doffing Class to

25   perform various duties before the start of schedu led shifts on shifts of 8 hours or more in length,

26 including the donning and doffing of protective clothing and gear, but does not pay those

27 employees for the time it takes them to don and doff their apparel.

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 1          66.     Ln committing the violations of state law as herein alleged, DEFENDANT has

 2 knowingly and willfully refused to perform its obligations to compensate class members for all
 3 wages earned and all hours worked.

 4          67.     As a direct result, PLAINTIFF and members of the Donning and Doffing Class

 5 have suffered and continue to suffer. substantial losses related to the use and enjoyment of such

 6 compensation, wages, lost interest on such monies and expenses and attorney's fees in seeking to

 7 compel DEFENDANTS to fully perform its obligation under state law, all to its respective

 8 damage in amounts according to proof at trial and within the jurisdictional limitations of th is
 9 Court.

10          68.     PLATNTIFF on behalf of himself and the Donning and Doffing Class requests the

11   unpaid wages, all penalties to which they may recover interest. attorneys' fees. costs. and any

12 other remedies allowed by law in an amount to be proven nt trial.

13                                      FOURTH CAUSE OF ACTION

14                 FAILURE TO PROVIDE ADEQUATE MEAL PERIODS ANO PAY ALL

15                                         PREMIUMS OWED

16   (Plaintiff and the Break and Unpa id Wages Class and Break Premium Regular Rate C lass

l7                                       Against All Defendants)

18          69.     PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if
19 fully alleged herein.

20          70.     At all relevant times, PLAJNTTFF and the other members of the Break and

21 Unpaid Wages Class and Break Premium Regular Rate Class were emplovees of DEFENDANT

22 covered by Labor Code Sections 226.7 and 5 12. and Wage Order I.
23          7 1.    Pursuant to Labor Code Sections 226.7 and 512. and Wage Order 1, PLAINTIFF

24 and Lhe other members of the Break and Unpaid Wages Class and Break Premium Ree:ular Rate

25 Class were entitled to a meal period of at least 30 minutes for each workday thev worked more

26 than 5 hours in any workday, and one additiona l hour of pav for every day that a timelv meal

27 period was not provided.

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               72.    Bv requiring PLAINTIFF and other members of Lhe Break and Unpaid Wages
 2 Class and Break Premium Regular Rate Class to don and doff before the scheduled starl of thei r

 3   shifts, DEFENDANTS failed to provide PLAINTIFF and other members of the Break and
 4   Unpaid Wages Class meal periods within the first 5 hours of their workday for each workday ti1at
 5 they worked more than 5 how·s in accordance with Labor Code Section 226.7 and 512, and Wage

 6 Order I. Moreover. PLAINTIFF and other putative class members take their meal breaks at th e
 7 direction of their supervisor. PLAINTJFF is informed and believes and thereon alleges that

 8 during the applicable limitations period. DEFENDANTS maintained and continue Lo maintain a

 9 policy or practice of releasing its hourly employees to take their meal periods after working 5

10 hours in a workday and preventing putative class members from taking their meal periods wiU1 111

11   the first 5 hours of the workday.

12             73.    PLAINTIFF and other members of Lhe Break and Unpaid Wages Class were
13 entitled to a second 30-minute meal period on shias over IO hours; however, DEFENDANTS

14 failed to provide PLAINTIFF and other members of the Break and Unpaid Wages Class a seco nd

15   meal period on such shifts.

16             74.    DEFENDANTS regularly fai led Lo provide PLAINTIFF and 0U1er members of the
17 Break and Unpaid Wages Class the additional hour of pay required by Labor Code Section 226.7

18 and Wage Order l for late or missed meal periods. PLAINTIFF is informed and believes and

19 thereon alleges that at all relevant times within the applicable limitations period, DEFENDANTS

20 maintained and continues to maintain a policy or practice of not paying an additional hour of pav
21   Lo   employees for late, short or missed meal periods.

22             75.    When DEFENDANTS have pajd PLAlNTLFF and other members of the Break
23 Premium Re1rnlar Rate Class a premium for a meal break violation, DEFENDANTS have faile d
24 to factor incentive bonus and shirt differential payments into the regular rate of pay for the

25 payment of those meal break premiums, as alleged above.
26            76.     As a result of DEFENDANTS' unlawful conduct, PLAINTIFF and other
27 members of the Break and Unpaid Wages Class and Break Premium Regular Rate Class have

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 l   suffered damages in an amount. subject to proof, to the ex.tent they were not paid additional pay
 2 owed for meal break violations.

 3          77.     Pursuant to Labor Code Section 218. PLAINTIFF and other members of the

 4 Break and Unpaid Wages Class and Break Premium Regu lar Rate Class are entitled to recover

 5 the full amount of their unpaid additional pav for late and missed meal periods. Pursuant to

 6 Labor Code Section 2 18.5. PLAINTIFF and other members of the Break and Unpaid Wages

 7 Class and Break Premium Regular Rate Class are entitled to recover their reasonable attorney's

 8 fees and costs of suit. Pursuant to Labor Code Section 2 18.6 or Civi l Code Section 3287(a),

 9 PLAINTIFFS and other members of the Putative Classes are entitled to recover prejudgment
10   interest on the additional pay owed fo r late and missed meal periods.

11                                     FIFTH CA USE OF ACTION

12                      FAILURE TO PAY ALL REST PERIOD PREMIUMS
13          (Plaintiff and the Break Premium Regular Rate Class Against All Defendants)

14          78.     PLAfNTl FF incorporates all of the fo regoing paragraphs of this complaint as if

15 rully a lleged herein.

16          79.     At all relevant times, PLAINTIFF and the other members of the Break Premium

17 Regular Rate Class were employees of DEFENDANTS covered by Labor Code Sections 226.7

18 and 5 12, and Wage Order I .

19          80.     Pursuant to Labor Code Sections 226.7 and 5 12. and Wage Order I. PLA fN TIFF
20 and the other members of the Break Premium Regular Rate Class were entitled to a rest period of

2 1 at least IO 111 inutes fo r each four-hour period of work, or major fraction thereoC and one hour of

22 additional pay fo r every dav a required rest period was not provided.

23          81.     When DEFENDANTS paid PLAINTIFF and other members of the Break

24 Premium Regular Rate Class a premium for a rest break violation, DEFENDANTS have failed to

25   factor incentive bonus and sbift differe • tial payments into the regular rate of pay for the pavment

26 of tbose rest break premiums. as alleged above.

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            82.    As a result or DEFENDANT's unlawful conduct. PLAINTIFF and other members

 2 of the Break Premium Re!!Lllar Rate Class have suffered damages in an amount. subject to proof.

 3 to the extent they were not paid additional pay owed for missed and sho1t rest periods.

 4          83.    Pursuant to Labor Code Section 218. PLAINTlFf and other members of the

 5 Break Premium Regu lar Rate Class are entitled to recover the full amount of their unpaid

 6 additional pay for rest period Break Premium Regular Rate Class. Pursuant to Labor Code

 7 Section 2 18.5, PLAINTIFF and other members of the Break Premium Regular Rate Class are

 8 entitled to recover their reasonable attorney's fees and costs of suit Pursuant to Labor Code

 9 Section 218.6 or Civil Code Section 3287(a), PLAINTIFF and other members of the Break
10 Premium Regu lar Rate Class are entitled to recover prejudgment interest on the additional pay

11 owed for missed and short rest periods.

12                                       SIXTH CAUSE OF ACTION

13          FAILURE TO FURNISH ACCURATE ITEMIZED WAGE STATEMENTS

14                 (Plaintiff and the Wage Statement Class Against All Defendants)

15          84.    PLAINTIFF incorporates all of the forego ing paragraphs of this complaint as if

16 folly alleged herein.

17          85.    Section 226(a) of the Cal ifornia Labor Code requires DEFENDANTS to

1.8 accurately repott total hours worked bv PLAINTTPF and the members of the proposed Wa2e

19 Statement Class, and to accurately set forth wa2es earned. DEFENDANTS have knowin!!lv and

20   intentionally failed Lo complv with Labor Code section 226(a) on each wage statement provided

21   to PLAINTIFF and members of tbe proposed Wage Statement Class during pay periods in which

22 DEFENDANTS fai led to pay minimum and/or ove1time wages or break premiums owed Lo

23 PLAJNTlfF or a member of the class.

24          86.    As a consequence of DEFENDANTS' knowing and intentional failure to comply

25 with Labor Code section 226(a), PLAINTIFF and each Wage Statement Class member he seeks

26 to represent are each enti tled to actual damages or penalties not to exceed $4000 pursuant to

27 Labor Code section 226(6). together with interest thereon and attorneys' fees and costs.

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 1                                   SEVENTH CAUSE OF ACTION

 2        FAJLURE TO PAY WAGES TIMELY UPON CESSATION OF EMPLOYMENT

 3                 (Plaintiff and the Waiting Time Penaltv Class Against All Defendants}

 4          87.       PLAlNTlFF incorporates all of the foregoing paragraphs of this compla int as if
 5 fully alleged herein.

 6          88.       PLAlNTlFF and the other members of the Waiting Time Penaltv Class were
 7 emplovees of DEFENDANTS covered by Labor Code Section 20 l whose employment was
 8   terminated by DEFENDANTS during the relevant class period.

 9          89.       Labor Code Section 20 I provides: '·(a) If an employer discharges an employee.

JO the wages earned and unpaid at the time of discharge are due and payable immediatelv."
11          90.       A layoff, for purposes of Labor Code Section 20 I, irrespective of the promise or
12   prospect of reemployment lor another season. is a discharge.
13          9 !.      Pursuant lo Labor Code Sections 20 I, PLAfNTTFF and other members of the
14 Waiting Time Penalty Class were entitled upon cessation of employment with DEFENDANTS

15 to timely payment of all wages earned and unpaid prior to termination and/or discharge,

16 including layoff. Employees who were discharged were entitled to payment of all wages earned

17 and unpaid prior to discharge immediately upon termination.

l8          92.       DEFENDANTS failed to pay PLAINTIFF and other members of the Waiting
19 Time Penalty Class all wages earned and unpaid prior to termination timely in accordance with

20 Labor Code Section 20 I or 202. PLAINTIFF is informed and believes and thereon al leges that

21   at all relevant times within the applicable limitations period. DEFENDANTS maintained and
22 continue to maintain a policv or practice of not payinu terminated and laid off employees all the
23   final wages earned before termination or layoff due under Labor Code Section 20 l.
24          93.       DEFENDANTS' failure to pay PLAINTIFF and members of the Waiting Time
25 Penaltv Class all wages earned prior to termination in accordance with Labor Code Section 20 I

26 was willful. DEFENDANTS had the abilitv to pay all wages earned by employees prior to
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     terminaLion in accordance with Labor Code Section 20 I, but imentionallv adopted 12olicies or
 2   12ractices incompaLible with the requirements of Labor Code Section 20 I .

 3           94.     Pursuant to Labor Code Section 201, PLA[NTIFF and other members of the
 4   Waiting Time Penaltt Class are entitled to all wages earned gri or to termination that

 5 DEFEN DANTS fa iled to pay d1em.

 6           95.     Pursuant to Labor Code Section 203, PLAINTIFF and other members of the
 7 Waiting Time Penalty Class are entilled to continuation of' their wages, from the day their earned

 8   and unpaid wages were due upon termination until pa id. up to a maximum of 30 days.

 9          96.     J\s a result of DEFENDANTS' conduct. PLAINTIFF and other members of the

10 Wailing f ime Penaltt Class have suffe red damages in an amount. subject to proof. to the extent

11   they were not paid for all wages earned prior to termination.

12          97.     As a result of DEFENDANTS' conduct PLAINTIFF and members of lhe
13   Waiting Time Penaltt Class have suffered damages in an amount. subject to proo f: to the extent
14 they were not paid all continuation wages owed under Labor Code Section 203.

15          98.     Pursuant to Labor Code Sections 218 and 2 18.5, PLATNTTFF and other members
16 of the Waiting Time Penalty Class are entitled to recover the fu ll amount of their unpaid wages,

17 continuation wages under Labor Code Section 203. reasonable attorney ' s fees and costs of suit.

I 8 Pursuanl to Labor Code Section 2 18.6 or Civil Code Section 3287(a}. Plainti ff and other

19 members of the Waiting Time Penalty Class are entitled to recover prejudgment interesl on the

20 amount of their unpaid wages and unpaid continuation wages.
21                                   EIGHTH CAUSE OF ACTION

22                    FAILURE TO REIMBURSE FOR BUSINESS EXPENSES

23                  (Plaintiff and tile Reimbursement Class Against AH Defendants)

24          99.     PLAINTIFF incorporates all of the foregoing paragraphs of this complaint as if
25   fully alleged herein.

26           100.   Labor Code§ 2802 grovides Lhat ·'[a]n emQloyer shall indemn ify his or her
27 emplovee for all necessary expenditures or losses incurred by the employee in direct
28
                                                      21
                                       FIRST AMEND.ED COMPLAINT
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 72 of 105 Page ID #:147




     consequence of the discharge of his or her duties."

 2           IO I.   DEFENDANTS required PLATNTIFF and lhe other members of the
 3   Reimbursement Class to wear N95 masks and safety boots while they worked. When

 4 PLAINTIFF and lhe Reimbursement Class members purchased their own N95 masks and boots

 5 they were not reimbursed for these purchases, as alleged above.

 6           102.    PLAINTlFF and the other members of the Reimbursement Class are entitled to

 7 reirnbursemem for these necessary expenditures, plus interest under Labor Code§ 2802.

 8           103.    As a result of DEFENDANTS' violations of Labor Code§ 2802. DEFENDANTs

 9 are also Iiable for attorneys' fees and costs under Labor Code§ 2802(c).

10           104.    PLAINTIFF, on behalfofhimself and the other members of the Reimbursement

11   Class, requests relief as described below.

12                                     NINTH CAUSE OF ACTION

13                                       UNFAIR COMPETITION

14                          (Plaintiff and the All Classes Against All Defendants)

15          105.     PLAINTlFr incorporates all of the foregoinQ paragraphs of this complaint as if

16 fully alle!!ed herein.

17          106.     The unlawful conduct of DEFENDANTS a lleged herein constitutes unfair

18 competition with in the meaning of Business and Professions Code Section 17200. Due lo its

19 unlawful ru,d tmfair business practices in violation of the Labor Code, DEFENDANTS haVE

20 gained a competitive advantage over other comparable companies doing business in the State of

21   California that complv with their obligations to compensate emplovees for all earned wages as
22 required by law.
23          107.     As a result of DEFENDANTS' unfair competition as alleged herein. PLAINTIF F
24 and other members of the Classes have suffered injurv in fact and lost monev or property.

25   PLAINTrFP and members of the Class have been deprived of their riQ:hts to meal and rest

26 periods and additional pay for !ate or missed meal and rest periods: unpaid minimum and

27

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                                                      22
                                        FIRST AMENDED COMPLAINT
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 73 of 105 Page ID #:148




     overtime wages; accmate wage statements: reimbursement for business exgenses: a11d/or timely

 2 gayment of all earned wages due upon termination of em12 loyment.

 3          108.     Pursuant to Business and Professions Code Section J. 7203, PLAlNTl FF and other

 4 class members are entitled Lo restitution of all wages and other monies owed and bel onging to

 5 them, including interest thereon, that DEFENDANTS wrongfu lly withheld from the m and
 6 retained for itself bv means of its unlawful and unfair business practices.

 7          4&109.          PLAINTIFF and class members are entitled to recover reason able

 8 attorney's fees in connection with their unfair competition claims pursuant to Code of Civi l

 9 Procedure Section 1021.5, the substantial benefit doctrine and/or the common fund doctrine.
IO                                         PRAYER FOR RELIEF

11          WHEREFORE, Plajntiff, on behalf of himself and all other aggrieved and similarly situated

12 employees and the State of California, prays for relief and judgment against Defend ants as follows:

13                                     CLASS CERTIFICATION:

14          I.     An order that the action be certi17ed as a class action:

15          2.     An order that Plainti ff be certified as the representative of the ClasseS .
                                                                                              '
16          3.     An order that counsel for Plaintiff be confirmed as Class counsel:

17                              ON THE FIRST CAUSE OF ACTION:

18          I.     Civ il penalties under Labor Code Section 2699 (75% payable Lo the LWDAand

19                 25% payable to aggrieved emplovees):

20          2.     Costs;

21          3.     Reasonable attorney's fees; and

22         4.      Such other and further relief as this Court mav deem just and proper.

23                             ON THE SECOND CAUSE OF ACTION :

24          l.     Damages for unpaid minimum wages:

25         2.      Pre judgmem interest;

26         3.      Liquidated dama!!es:

27                              ON THE THIRD CAUSE OF ACTION:

28
                                                      23
                                       FIRST AMENDED COMPLAINT
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 74 of 105 Page ID #:149




         I.   Damages for unpaid overtime wages:

 2       2.   Prejudgment interest;

 3       3.   Liquidated damages:

 4                       ON THE FOURTH CAUSE OF ACTION:

 5       I.   Damages for unpajd additional pav owed for late meal periods:

 6       2.   Prejudgment interest:

 7                         ON THEFIFfH CAUSE OF ACTION:

 8       I.   Damages for unpaid additional pav owed for missed rest periods:

 9       2.   Prejudgment interest;

10                         ON THE SIXTH CAUSE OF ACTION:

11       I.   Damages for inaccurate wal!e statements for each relevant pay period:

12       2.   Prejudgment interest;

13                       ON THE SEVENTH CAUSE OF ACTION:

14       I.   Damages for unprud wages earned prior to termination of emplovment:

15       2.   Damages for unpaid continuation waQes owed for failing lo pay all earned wages

16             timely upon termination of emplovment

17       3.   Prejudgment interest:

18                       ON THE EIGHTH CAUSE OF ACTION:

19       l.   Damages for unreimbursed business expenses;

20       2.    Prejudgment interest;

21                        ON THE NINTH CAUSE OF ACTION:

22       l.   Restitution of all unpaid wages and other monies owed and belo• gine to Class

23            members that Defendants unlawfullv withheld from tbem and retained for itself:

24       2.   Prejudgment interest:

25                            ON ALL CAUSES OF ACTION:

26       I.   Judgment in favor of Plaintiff and tbe putative Classes and against Defendants:

27       2.   Reasonable attorney' s fees;

28
                                               24
                                 FIRST AMENDED COMPLAINT
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 1         3.     Costs of su iL; and

 2         4.     Such other relief as the Court deems jusL and proper.

 3 Dated: April 28, 2021                          MOSS BOLLINGER LLP

 4
 5                                                By    ~
                                                  J eremyF.Bollinger
 6                                                Attorneys for Plaintiff DAYID WALKER

 7                                  DEMAND FOR JURY TRIAL

 8         Plaintiff demands a trial by jury for themselves and the Class on all claims so triab le.

 9 Dated: April 28, 2021                          MOSS BOLLINGER LLP

10

11                                               By    ~
                                                 JeremyF.o1linger
l2                                               Allorneys for Plaintiff DAVID WALKER

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                                        FIRST AMENDED COMPLAINT
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  2                                                           SUPERIOR COURT OF CALIFORNIA
                                                               COUNTY OF SAN BERNARDINO
                                                                SAN BERNARDINO DISTRICT
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  4                                                                  JUN O7 2021

  5                                                         BY
                                                                  J~~UTY
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  8
                     SUPERIOR COURT OF THE STATE OF CALIFORNIA
  9
                                 COUNTY OF SAN BERNARDINO
 10
 11   DAVID WALKER, an individual, on behalf of       Case No. CIVDS20223 l I
      himself and all others similarly situated,
 12                                                   [Assigned for all purposes to Hon. David
 13                Plaintiffs,                        Cohn, Dept. S-26]

 14         vs.                                       (£ftt>PO8Rf>] ORDER GRANTING
                                                      LEAVE TO FILE FIRST AMENDED
 15   HOWMET AEROSPACE, INC., a Delaware              COMPLAINT
      corporation; SCHLOSSER FORGE
 16   COMPANY, a Delaware corporation; and
      DOES 1-50,
 17                                                   Date: June 7, 2021
                   Defendants.                        Time: I 0:00 am
 18                                                   Dept: S-26
 19                                                   Action Filed: October 13, 2020
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                                         [PROPOSED] ORDER
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 77 of 105 Page ID #:152
         ...




  I                                         [;e.RQP96J.Dl ORDER
  2            This matter came on regularly for hearing on June 7, 2021, before the Hon. David Cohn,
  3   Judge Presiding, in Department S-26 of the above-entitled court.
  4            Upon reading and considering the Motion for Leave to File First Amended Complaint (the
  5   "Motion"), and GOOD CAUSE APPEARING THEREFOR, IT IS HEREBY ORDERED THAT:
  6
               1. Plaintiff's Motion is hereby granted.
  7
               2. The proposed amended complaint is deemed filed and served as of the date of the
  8
                  granting of the Motion.
  9
               3. Defendant has 30 days from the date this order is served to respond to the amended
 10
                  complaint.
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 12
 13   DATED:
 14                                                        JUDGE OF THE SUPERIOR COURT

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                                                [PROPOSED] ORDER
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Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 78 of 105 Page ID #:153




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                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
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                                COUNTY OF SAN BERNARDINO
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11   DAVID WALKER, an individual, on behalf of       Case No. CIVDS2022311
     himself and all others similarly situated,
12                                                   [Assigned for all purposes to Hon. David
                  Plaintiffs,                        Cohn, Dept. S-26]
13
14         vs.                                       [PROPOSED] ORDER GRANTING
                                                     LEAVE TO FILE FIRST AMENDED
15   HOWMET AEROSPACE, INC., a Delaware              COMPLAINT
     corporation; SCHLOSSER FORGE
16   COMPANY, a Delaware corporation; and
     DOES 1-50,
17                                                   Date: June 7, 2021
                  Defendants.                        Time: 10:00 am
18                                                   Dept: S-26
19                                                   Action Filed: October 13, 2020
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                                        [PROPOSED] ORDER
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 79 of 105 Page ID #:154




 1                                        [PROPOSED] ORDER
 2          This matter came on regularly for hearing on June 7, 2021, before the Hon. David Cohn,
 3   Judge Presiding, in Department S-26 of the above-entitled court.
 4          Upon reading and considering the Motion for Leave to File First Amended Complaint (the
 5   "Motion"), and GOOD CAUSE APPEARING THEREFOR, IT IS HEREBY ORDERED THAT:
 6
            1. Plaintiff's Motion is hereby granted.
 7
            2. The proposed amended complaint is deemed filed and served as of the date of the
 8
                granting of the Motion.
 9
            3. Defendant has 30 days from the date this order is served to respond to the amended
10
                complaint.
11
12
13   DATED: - - - - - - -
14                                                       JUDGE OF THE SUPERIOR COURT

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                                             [PROPOSED] ORDER
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Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 80 of 105 Page ID #:155




                   CASE ATTACHMENT COVER PAGE                                    (ENDORSED)
                                                                           ELECTRONICALLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO                          FlLED
  STREET ADDRESS 247 Neat Third Street

 MA!UNO ADDRESS                                                           BY SUPERIOR COURT
 CITY ANO ZIP CODE San Bernardino, CA 92415                          OF CALIFORNIA, COUNTY OF
     BRANCH NAME San Bernardino Justice Center                                 San Bernardino
          w1::1;1sHE http://www. sb-court. org                               on May 3, 2021
                                                                     CLERK OF THE SUPERIOR COURT
 AT r ACHMENT NAME Declaration: Declaration of Jeremy Bollinger
                                                                    r;,,puty c"''* Liliana Madscal

 CASE NAME David Walker vs. Howmet Aerospace, Inc., et al.        CASE NUMBER

                                                                                 l'JDS20i 2 311



                  Please log on to www.TurboCourt.eom regularly for updates

                        Please staple this to your original attachment
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      1 Jeremy F. Bollinger (SBN 240132)
        Dennis F. Moss (SBN 77512)
      2 Ari E. Moss (SBN 238579)
        Kiara Bramasco (SBN 322600)
      3 MOSS BOLLINGER LLP
        15300 Ventura Blvd., Ste. 207
      4 Sherman Oaks, California 91403
        Telephone: (310) 982-2984
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      6 dennis@mossbollinger.com
        ari@mossbollinger.com
      7 kiara@mossbollinger.com

      8   Attorneys for Plaintiff
          DA YID WALKER
      9
                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
     10
                                         COUNTY OF SAN BERNARDINO
     11

     12   DAVID WALKER, an individual, on behalf of         Case No. CIVDS20223 l 1
          himself and all others similarly situated,
     13                                                     [Assigned for all purposes to Hon. David
                         Plaintiffs,                        Cohn, Dept. S-26]
     14
                 vs.                                        DECLARATION OF JEREMY F.
     15                                                     BOLLINGER IN SUPPORT OF
          HOWMET AEROSPACE, INC., a Delaware                PLAINTIFF'S MOTION FOR LEAVE
     16   corporation; SCHLOSSER FORGE
          COMPANY, a Delaware corporation; and              TO FILE FIRST AMENDED
     17   DOES 1-50,                                        COMPLAINT

     18                  Defendants.                       [Filed concurrently with Notice of Motion
                                                           and Motion for Leave to File First
     19                                                    Amended Complaint; and [Proposed]
                                                           Order]
     20
                                                            Date: June 7, 2021
     21                                                     Time: 10:00 am
                                                            Dept: S-26
     22

     23                                                     Action Filed: October 13, 2020

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                                       DECLARATION OF JEREMY F. BOLLINGER
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 82 of 105 Page ID #:157




                                  DECLARATION OF JEREMY F. BOLLINGER

      2      I, Jeremy F. Bollinger, declare as follows:

      3              1. I am an attorney licensed to practice law in the State of California, and my firm,

      4   Moss Bollinger, LLP, of which I am a partner, is counsel of record for Plaintiff, David Walker

      5   ("Plaintiff' or "Walker"). I have personal knowledge of the matters contained herein. This

      6   Declaration is submitted in support of the concurrently filed Motion for Leave to File First

      7   Amended Complaint. If called as a witness, I would testify to the following:

      8              2.   On April 19, 2021, I emailed a draft of Plaintiffs proposed First Amended

      9   Complaint ("F AC") showing the proposed amendments in redline. Attached hereto as Exhibit A

     10   is a true and correct copy of an email chain between me and counsel for Defendants, Carter

     11   Norfleet, dated April 19, 2021 11:12 AM to April 21, 2021 10:47 AM. On the same day that

     12   Defendants refused to stipulate to the filing of any amended complaint, my office contacted the

     13   Court to reserve a date for a hearing on this Motion.

     14              3. The proposed amendments eliminate all allegations related to one theory of liability

     15   for PAGA penalties based on unpaid overtime and add eight new causes of action based on the

     16   exact same facts that formed the basis of Plaintiffs PAGA claims alleged in the original complaint.

     17   The new causes of action allege class claims for: ( 1) failure to pay minimum wages, (2) failure to

     18   pay overtime wages, (3) failure to provide adequate meal periods, (4) failure to allow rest periods,

     19   (5) failure to furnish accurate itemized wage statements, (6) failure to timely pay all wages upon

     20   cessation of employment, (7) failure to reimburse business expenses, and (8) unfair competition.

     21   Plaintiff eliminated the claim for PAGA penalties based on Defendants' failure to include the

     22   amount of non-discretionary incentive pay when calculating aggrieved employees' regular rate of

     23   pay for the payment of overtime because that theory is covered by a previously filed PAGA action

     24   entitled Stewart v. Arconic Global Fasteners & Rings, Orange County Superior Court Case No.

     25   30-2018-00968137-CU-OE-CXC. However, Plaintiff maintains his separate theory of liability for

     26   unpaid overtime based on off the clock donning of protective clothing and gear that was not alleged

     27   in the Stewart Action. The FAC also is amended to assert the basis for this Court's jurisdiction over

     28   the new causes of action.


                                      DECLARATION OF JEREMY F. BOLLINGER
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      1              4. As the eight new causes or action are brought on a class basis, the FAC adds a

      2   section entitled "Class Definitions and Class Allegations" in which it defines the alleged classes

      3   that Plaintiff seeks to represent and sets out the basis for maintaining a class action pursuant to the

      4   provisions of California Code of Civil Procedure § 382.

      5              5. The FAC also amends the prayer for relief to request relief for each of the eight

      6   new causes of action and for an order certifying the classes and confirming Plaintiff as the

      7   representative of the classes and counsel for Plaintiff as Class counsel.

      8              6.   Plaintiff delayed bringing his class claims (which are based on the same factual

      9   predicate as his filed PAGA claims) until he could confirm that no arbitration agreement existed

     10   between the patties that would preclude Plaintiff from filing his class claims in comi. To that end,

     11   after the Comt lifted the stay following the Initial Case Management Conference, Plaintiff

     12   propounded a request for production of documents on Defendant Howmet Aerospace, Inc.

     13   ("Howmet") seeking copies of all documents in his employment file as well as all documents

     14   referencing Plaintiff during his employment by Howmet. Plaintiff hoped to confirm in a verified

     15   response from Howmet that Defendants had no documented agreements that would obligate

     16   Plaintiff to arbitrate his proposed claims.

     17              7.   On March 1, 2021, Howmet served its responses to Plaintiffs document requests.

     18   In those responses, Howmet stated: "This action (and any discovery) should be stayed pending the

     19   final approval of the class settlement in the Stewart Action and the Responding Party objects to

     20   providing any documents until the issue of the stay is resolved." Accordingly, Howmet said it

     21   would only produce the requested documents after the issue of a stay was resolved: "Subject to

     22   and without waiving the foregoing objections and specifically reserving the same, and only to the

     23   extent the matter is not stayed and particular claims are not precluded, Responding Patty

     24   responds as follows: Responding Party will produce non-privileged and otherwise non-

     25   objectionable documents responsive to this Request to the extent they exist and subject to a

     26   stipulated protective order." (Emphasis added.)

     27              8.   The Stewart Action is a separately filed class action lawsuit that alleges some but

     28   not all of the claims alleged in this lawsuit. Unlike this lawsuit, the Stewart plaintiff did not allege
                                                              2
                                        DECLARATION OF JEREMY F. BOLLINGER
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 84 of 105 Page ID #:159




      1 claims for unpaid minimum wages, failure to provide meal periods, waiting time penalties or non-

      2   reimbursement of business expenses. While the Stewart plaintiff alleged claims for unpaid

      3   overtime and rest break violations, the Stewart Action did not include all of the same theories of

      4   liability as Plaintiff Walker. For example, Stewart alleged that he was denied third rest breaks on

      5   shifts over 10 hours and was not paid rest break premiums for those violations whereas Plaintiff

      6   Walker alleges that Defendant failed to correctly calculate the rest break premiums that Defendants

      7   actually paid him. Likewise, Stewart's unpaid overtime claim is based solely on the theory that

      8   Defendants failed to factor bonuses into the overtime rate whereas Plaintiff Walker also alleges

      9   that Defendants failed to pay him and others who were required to wear protective clothing and

     10   gear for the time it took them to don that gear before the start of their shifts.

     11              9. Plaintiff's counsel proceeded to meet and confer with Defendants' counsel

     12   regarding Howmet's refusal to produce the responsive documents based on a potential settlement

     13   in the Stewart Action. Then, on April 5, 2021, Defendant's Counsel emailed Plaintiff's Counsel to

     14   inform him that "all of the claims in the instant lawsuit you filed are being actively discussed as

     15   part of the Stewart settlement". Attached hereto as Exhibit Bis a true and correct copy of an email

     16   chain between me and counsel for Defendants, including an email from Caiier Norfleet to me dated

     17   April 5, 2021 5:22 PM.

     18              10. Attached hereto as Exhibit C is a true and correct copy of the Stipulation to Request

     19   Continuance of Status Conference ("Stipulation") filed on April 16, 2021, in Stewart v. Arconic

     20   Global Fasteners & Rings, Inc., Orange County Superior Court Case No. 30-2018-00968137

     21   which was provided to me by counsel for Defendants.

     22              11. I took the statements in Mr. Norfleet's April 5, 2021 email and the Stipulation to

     23   mean that Defendant was seeking to settle out the claims alleged in this lawsuit that were not

     24   previously alleged in the Stewart Action by having the Stewart plaintiff amend its complaint and

     25   PAGA letter. While Plaintiff has scheduled an Informal Discovery Conference with the Comi

     26   regarding the discovery dispute, my client and I determined that we could no longer wait for the

     27   resolution of the discovery dispute (and get confirmation regarding the existence of any arbitration

     28   agreement) to file the amended complaint.
                                                              3
                                        DECLARATION OF JEREMY F. BOLLINGER
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 85 of 105 Page ID #:160




      1          I declare under penalty of pe1jury under the laws of the State of California that the

      2   foregoing is true and correct.

      3          Executed on this 28th day of April, 2021, at Sherman Oaks, California.

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                                      DECLARATfON OF JEREMY F. BOLLINGER
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 86 of 105 Page ID #:161




                  EXHIBIT A
                                     to
                       Declaration of
                 Jeremy F. Bollinger
      Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 87 of 105 Page ID #:162
4/21/2021                                      Moss Bollinger LLP Mail - Walker v. Howmet First Amended Complaint




 M GmaiJ                                                                            Jeremy Bollinger <jeremy@mossbollinger.com>



  Walker v. Howmet: First Amended Complaint
  Norfleet, Carter L. <Carter.Norfleet@klgates.com>                                    Wed, Apr 21 , 2021 at 10:47 AM
  To: Jeremy Bollinger <jeremy@mossbollinger.com>, "Ryu, Gene C." <Gene.Ryu@klgates.com>
  Cc: "Nunn, Todd" <todd.nunn@klgates.com>, Anthony Flores <anthony@mossbollinger.com>


     Hi Jeremy -




    Thanks for your email and apologies for missing your call (I was on the other line).



     We are not going to stipulate to the filing of a first amended complaint in this action.



    Best,
    Carter




      K&LGATES
    Carter L. Norfleet
    Associate
    K&L Gates LLP
    10100 Santa Monica Blvd., 8th Floor
    Los Angeles, CA 90067
    Phone: (310) 552-5077
    carter.norfleet@klgates.com
    www.klgates.com



    From: Jeremy Bollinger <jeremy@mossbollinger.com>
    Sent: Wednesday, April 21, 202110:45 AM
    To: Norfleet, Carter L. <Carter.Norfleet@klgates.com>; Ryu, Gene C. <Gene.Ryu@klgates.com>
    Cc: Nunn, Todd <todd.nunn@klgates.com>; Anthony Flores <anthony@mossbollinger.com>
    Subject: Re: Walker v. Howmet: First Amended Complaint



    Carter and Gene,



    I am following up on my email below. I suspect that your client is still contending that this action should be stayed pending
    the settlement in the Stewart case and therefore will not stipulate to the filing of Mr. Walker's First Amended Complaint. If
    your client's position has changed, please let me know today as we are preparing the motion for leave to file the amended
    complaint to be filed later this week. If your client is willing to stipulate then I will prepare the stipulation today so we can
    file that this week.

https://mail.google.com/mail/u/O?ik=fSfe195a7d&view=pt&search=all&permmsgid=msg-f%3A169767310733884 7931&dsqt= 1&simpl=msg-f%3A 16976...   1/3
     Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 88 of 105 Page ID #:163
4/21/2021                                     Moss Bollinger LLP Mail - Walker v. Howmet: First Amended Complaint



    I am available to discuss this today if you have any questions. Thank you for your cooperation on this matter.



    Best,
    Jeremy




    Jeremy F. Bollinger

    Moss Bollinger, LLP
    15300 Ventura Blvd., Suite 207

    Sherman Oaks, California 91403

    Tel. (310) 982-2984, Ext. 2

    Fax (818) 963-5954

    Email: jeremy@mossbollinger.com




    On Mon, Apr 19, 2021 at 11 :12 AM Jeremy Bollinger <jeremy@mossbollinger.com> wrote:

       Carter and Gene,



       We are planning to file a first amended complaint in the Walker action to add the class claims for the violations set forth
       in Mr. Walker's PAGA complaint. We ask that you and your client stipulate to the filing of the first amended complaint to
       avoid motion practice. Attached is a redline showing the changes from the original complaint to the amended
       complaint. You'll see that no new factual allegations are alleged. Because these claims relate back to the original
       complaint, the relevant class periods are based on the October 13, 2020 filing. (Brown v. Ralphs Grocery Co. (2018) 28
       Cal. App. 5th 824, 841-842.)



       We understand that the Stewart plaintiff intends to amend its complaint to add claims Mr. Walker has alleged, but as
       you know those claims will not relate back to the filing of the Stewart original complaint. Accordingly, we do not see any
       reason why the Stewart action would preclude the proposed amendments to the Walker complaint.



       Please let us know your client's position right away. Thank you.



       Jeremy F. Bollinger

       Moss Bollinger, LLP
       15300 Ventura Blvd., Suite 207

       Sherman Oaks, California 91403

       Tel. (310) 982-2984, Ext. 2

       Fax (818) 963-5954


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     Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 89 of 105 Page ID #:164
4/21/2021                                           Moss Bollinger LLP Mail - Walker v. Howmet: First Amended Complaint

       Email: jeremy@mossbollinger.com


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Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 90 of 105 Page ID #:165




                  EXHIBIT B
                                     to
                       Declaration of
                 Jeremy F. Bollinger
     Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 91 of 105 Page ID #:166
4/22/2021                         Moss Bollinger LLP Mail - Walker v. HowmeU/Defendants' Objections to Plaintiffs Written Discoveiy




 M Gmai1                                                                              Jeremy Bollinger <jeremy@mossbollinger.com>



  Walker v. Howmet//Defendants' Objections to Plaintiffs Written Discovery
  Norfleet, Carter L. <Carter.Norfleet@klgates.com>                                      Mon, Apr 5, 2021 at 5:22 PM
  To: Jeremy Bollinger <jeremy@mossbollinger.com>, "Ryu, Gene C." <Gene.Ryu@klgates.com>
  Cc: "Nunn, Todd" <todd.nunn@klgates.com>


    Hi Jeremy-



    We wanted to reach back out to follow-up on our conversation this past Friday. We had a chance to speak with Todd
    and get up to speed regarding the Stewart Settlement.



    There is a case management hearing in the Stewart case on April 23, 2021 and the parties are required to file a joint
    report ahead of the conference (no later than April 16, 2021). Once we get that on file you w ill see all the causes of
    action covered at that time. Engaging in discovery in this matter prior to our joint report submission in Stewart on
    April 16, 2021, is premature as all of the claims in the instant lawsuit you filed are being actively discussed as part of
    the Stewart settlement.



    As I stated on Friday, you have no class certification deadline as your lawsuit is PAGA only. If you are concerned about
    your motion to compel deadline, we are happy to provide an extension, if necessary. We do not feel motion practice
    is necessary at this point in light of the information we are providing you . Any motion filed may be moot in a few
    weeks anyway, and if not we can address t hose issues at that time.



    We hope that you can agree to give us 11 days to sort out Stewart. Please let us know if you would like to discuss
    further.



    Best,

    Carter




     K&LGATES
    Carter L. Norfleet
    Associate
    K&L Gates LLP
    10100 Santa Monica Blvd., 8th Floor
    Los Angeles, CA 90067
    Phone: (310) 552-5077
    carter. norfleet@klgates.com
    www.klgates.com

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     Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 92 of 105 Page ID #:167
4/22/2021                         Moss Bollinger LLP Mail - Walker v. HowmeU/Defendants' Objections to Plaintiffs Writlen Discovery



    From: Jeremy Bollinger <jeremy@rnossbollinger.com>
    Sent: Friday, April 2, 2021 2:15 PM
    To: Norfleet, Carter L. <Carter.Norfleet@klgates.com>; Ryu, Gene C. <Gene.Ryu@klgates.com>
    Cc: Nunn, Todd <todd.nunn@klgates.com>
    Subject: Fwd: Walker v. Howmet/!Defendants' Objections to Plaintiff's Written Discovery



    Carter and Gene,



    Here is the email correspondence between me and Todd pursuant to my meet and confer efforts. Please discuss what
    Todd discussed with your client since he reached out to your client to discuss my proposal on March 12. Let's talk on
    Monday after you've spoken to Todd. Thank you.



    Jeremy F. Bollinger

    Moss Bollinger, LLP
    15300 Ventura Blvd., Suite 207

    Sherman Oaks, California 91403

    Tel. (310) 982-2984, Ext. 2

    Fax (818) 963-5954

    Email: jeremy@mossbollinger.com



    --------- Forwarded message-------
    From: <jeremy@mossbolllnger.com>
    Date: Fri, Mar 12, 2021 at 2:18 PM
    Subject: Re: Walker v. Howmet//Defendants' Objections to Plaintiffs Written Discovery
    To: Nunn, Todd <todd.nunn@klgates.com>
    Cc: Anthony Flores <anthony@mossbollinger.com>



    Todd,



    At a minimum, I will wait until you have served the RFA responses before moving to compel. That way we can address all
    potential disputes in one motion. Do you think you'll have a signed settlement agreement in the other case by then?

    Jeremy



    Sent from my iPhone




            On Mar 12, 2021 , at 12:44 PM, Nunn, Todd <todd.nunn@klgates.com> wrote:




htlps://mail.google.com/mall/u/0?ik=f5fe195a7d&\/iew=pt&search=all&permmsgid=msg-f%3A1696248398175641051&dsqt= 1&simpl=msg-f%3A16962...   2/7
     Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 93 of 105 Page ID #:168
4/22/2021                         Moss Bollinger LLP Mail - Walker v. HowmeU/Defendants' Objections to Plaintiffs Written Discovery

            I am still discussing options w ith my client. I believe it makes the most sense for you to allow us the
            time to get the written settlement agreement finalized. I will t hen provide that to you and we can
            discuss what makes sense going forward. I am not talking about a huge delay. But I think it is
            reasonable to handle this a step at a time.



            We should probably schedule a meet and confer for next week. Thanks.



            From: Jeremy Bollinger <jeremy@mossbollinger.com>
            Sent: Thursday, March 11, 20212:46 PM
            To: Nunn, Todd <todd.nunn@klgates.com>
            Subject: Re: Walker v. Howmet//Defendants' Objections to Plaintiff's Written Discovery



            Todd,



            I take it from your lack of a reply that you are not agreeable to providing amended responses to the
            discovery requests limited to the claims and theories that are not at issue in the operative Stewart
            complaint. If that is not the case and you are agreeable to my proposal, please let me know. Thank you.



            Jeremy F. Bollinger

            Moss Bollinger, LLP
            15300 Ventura Blvd., Suite 207

            Sherman Oaks, California 91403

            Tel. (310) 982-2984, Ext. 2

            Fax (818) 963-5954

            Email: jeremy@mossbollinger.com




            On Fri, Mar 5, 2021 at 4:36 PM Jeremy Bollinger <jeremy@mossbollinger.com> wrote:

              Todd,



              You never told me that you needed an extension because the settlement in Stewart "once finally
              approved, will preclude Plaintiff's and aggrieved employees' claims in the present case". You simply said
              you wanted to discuss the "scope" of the requests which suggests that you felt the requests were
              overbroad, not that they were barred entirely. As we discussed before, the claims in the Stewart case do
              not dispose of all claims in Mr. Walker's complaint. At a minimum, your clients should respond as to
              those claims that will still be live after the Stewart settlement, assuming it is approved. If you agree to
              that compromise, I will agree that your clients do not have to respond as to the requests that are only
              relevant to the claims being settled in the Stewart case until after the Stewart court considers the Stewart
              motion for approval of that settlement. If that's agreeable to you, we can hop on the phone on
              Wednesday and go through the requests to agree on which requests your clients w ill respond to at this
              time and which will be tabled pending Stewart settlement approval. Let me know your thoughts.



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     Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 94 of 105 Page ID #:169
4/22/2021                         Moss Bollinger LLP Mail - Walker v. HowmeU/Defendants' Objections to Plaintiffs Written Discovery
               Thank you.



               Jeremy F. Bollinger

               Moss Bollinger, LLP
               15300 Ventura Blvd., Suite 207

               Sherman Oaks, California 91403

               Tel. (310) 982-2984, Ext. 2

               Fax (818) 963-5954

               Email: jeremy@mossbollinger.com




               On Fri, Mar 5, 2021 at 4:14 PM Nunn, Todd <todd.nunn@klgates.com> wrote:

                 Jeremy,



                  I am surprised by your reaction, and your position is not reasonable.



                 First, I requested a 30 day extension of time to respond well ahead of the deadline. A request that
                 virtually every attorney I have ever dealt with has granted, and one I would have granted if on the
                 other side. You declined to provide the extension unless I guaranteed that I would produce
                 substantive responses. I told you that I intended to object because we had issues with the scope of
                 the requests, among other concerns. So, we responded within the original 30 day time frame with
                 that understanding. Now you feign surprise at receiving objections.



                 Second, you appear to be accusing me of lying about having reached a settlement in the Stewart
                 case, which is reckless and unprofessional. We have settled that case. After a lengthy negotiation
                 process t hrough a mediator we have reached an agreement in principal and we are now
                 negotiating the written settlement agreement. The written settlement agreement is not yet final or
                 execut ed. This is not an unusual process in class action settlements. I w ill provide you wit h the
                 written settlement agreement when it is executed, and not before. You needn't have wasted your
                 time combing the dockets for filings regarding the settlement. Those will happen in due course and
                 as part of the approval process.



                 There is no surprise here. I listed the Stewart case as a related case in t he Initial Case Management
                 Conference Report, and I raised the potential settlement of the case w ith the court during the
                 Initial CMC conference.



                 Third, you misread the responses to the RFP. It states that to the extent there is no stay (an issue
                 that has not yet been decided) we will produce non-privileged non-objectionable material. There is
                 nothing in that response that states we will produce documents immediately, and again, that is an
                 unreasonable position given our objections and prior request for an extension .
https://mall.google.com/mail/u/0?ik=f5fe195a7d&view=pt&search=all&permmsgid=msg-f%3A1696248398175641051 &dsqt= 1&simpl=msg-f%3A16962...   4n
     Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 95 of 105 Page ID #:170
4/22/2021                         Moss Bollinger LLP Mail - Walker v. Howmet//Defendants' Objections to Plaintiffs Written Discovery



                 If you wish to engage in a good faith meet and confer, I have availability to have a call mid-next
                 week. If you wish to continue to engage in gamesmanship, then I suppose that is what you will do.
                 In that case, we will leave it to the court to assess whether a stay is warranted in light of the
                 Stewart settlement, whether you have satisfied your meet and confer obligations, and whether
                 your behavior is appropriate and to be condoned under the circumstances.



                  Please let me know times you are available to discuss next Wednesday or Thursday.



                 Todd



                 From: Jeremy Bollinger <jeremy@mossbollinger.com>
                 Sent: Tuesday, March 02,  20212:54 PM
                 To: Nunn, Todd <todd.nunn@klgates.com>
                 Cc: Wheat, Kathy J. <Kathy.Wheat@klgates.com>; Hamer, Spencer <Spencer.Hamer@klgates.com>;
                 Terzes, Carol <Carol.Ter2es@klgates.com>; Anthony Flores <anthony@mossbollinger.com>
                 Subject: Re: Walker v. Howmet//Defendants' Objections to Plaintiff's Written Discovery



                 Todd,



                 I am writing to meet and confer with you with regard to Defendant's objections to Plaintiff Walker's
                 requests for production of documents, special interrogatories and Form Interrogatories. As you did not
                 respond to my email or send me any settlement papers from the Stewart case, I checked the Orange
                 County Superior Court's website and found no mention of settlement in the Stewart case docket. I
                 checked the LWDA's website for the Stewart PAGA claim and found no notice of a settlement there.
                 Accordingly, your client's statement that it has agreed to settle claims in the Stewart case that overlap
                 with Mr. Walker's claims appears to mean that no settlement has actually been reached in the Stewart
                 case. If a settlement agreement has been reached, please provide me a copy of the settlement
                 agreement or provide me a comprehensive list of the claims and theories of liability that purportedly
                 have been settled. Please respond by Friday, March 5, 2021.



                 In addition, Defendant's responses state that it will produce documents in response to Plaintiffs
                 document requests, but no documents were produced. Moreover, the responses state that Defendant
                 is only producing "non-objectionable documents". Please produce these "non-objectionable
                 documents" by this Friday along with any privilege log showing the basis for withholding any
                 responsive documents so that we can meet and confer on what I anticipate •• based on the responses
                 -- will be an inadequate document production .



                 If you do not provide any evidence of a settlement and the details about which specific claims and
                 theories of liability have been resolved by the purported settlement by this Friday, I will ask that you
                 withdraw your objections based on the Stewart settlement and provided supplemental responses. If
                 we are unable to resolve this dispute, I will plan to file a motion to compel substantive responses to
                 the discovery next week.



                 I look forward to hearing from you by this Friday, March 5, 2021 .



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     Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 96 of 105 Page ID #:171
4/22/2021                          Moss Bollinger LLP Mail - Walker v. Howmet//Defendants' Objections to Plaintiffs Written Discovery

                  Jeremy F. Bollinger

                  Moss Bollinger, LLP
                  15300 Ventura Blvd., Suite 207

                  Sherman Oaks, California 91403

                  Tel. (310) 982-2984, Ext. 2

                  Fax(818)963-5954

                  Email: jeremy@mossbollinger.com




                  On Mon, Mar 1, 2021 at 5:31 PM Jeremy Bollinger <jeremy@mossbollinger.com> wrote:

                     Todd,



                     Please send me the settlement papers in the Stewart case so that I can fully understand your
                     objections. Thank you.



                     Jeremy F. Bollinger

                     Moss Bollinger, LLP
                     15300 Ventura Blvd., Suite 207

                     Sherman Oaks, California 91403

                     Tel. (310) 982-2984, Ext. 2

                     Fax(818)963-5954

                     Email: jeremy@mossbollinger.com




                     On Mon, Mar 1, 2021 at 4:42 PM Nunn, Todd <todd.nunn@klgates.com> wrote:

                        Hello Jeremy,



                        As we discussed previously, enclosed are Defendants' Objections and Responses to Plaintiff's
                        Requests for Production, Objections to Plaintiff's Special Interrogatories, and Objections to
                        Plaintiff's Form Interrogatories. We are serving these pursuant to our agreement on electronic
                        service.



                        We can schedule a time to discuss the specific concerns expressed in these objections and
                        timing of substantive answers and responses. Thanks.




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     Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 97 of 105 Page ID #:172
4/22/2021                             Moss Bollinger LLP Mail - Walker v. HowmeU/Defendants' Objections to Plaintiffs Written Discovery

                           K&LGATES
                          Todd L. Nunn

                          K&L Gates

                          925 Fourth Avenue

                          Suite 2900

                          Seattle, WA 981 OLi-1158

                          Phone:       (206) 623-7580 (ext. 7616)

                          Dir. Dial: (206) 370-7616

                          Fax:          (206) 623-7022

                          email: todd.nunn@klgates.com




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Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 98 of 105 Page ID #:173




                  EXHIBIT C
                                     to
                       Declaration of
                 Jeremy F. Bollinger
           Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 99 of 105 Page ID #:174
              Electronically Received by Superior Court of California, County of Orange, 04/16/2021 02:13:44 PM.
       30-2018-00' 1>8137-CU-OE-CXC - ROA # 130 - DAVID H. YAMASAK1, Clerk of the Court By ocuser ocuser, Deputy Cle k.
31004724

                 1   James R. Hawkins, Esq. SBN 192925
                     Isandra Fernandez, Esq. SBN 220482
                 2   JAMES HAWKINS APLC
                     9880 Research Drive, Suite 200
                 3   Irvine, CA 92618
                     TEL: (949) 387-7200
                 4   FAX: (949) 387-6676

                 5   Attorneys for Plaintiff, PAUL A. STEWART
                     on behalf of himself and all others similarly situated
                 6

                 7   TODD L. NUNN (SBN 320687)
                     EUGENE C. RYU {SBN 209104)
                 8   CARTERL. NORFLEET (SBN 318152)
                     K&L GATES LLP
                 9   10100 Santa Monica Boulevard, Eighth F loor
                     Los Angeles, California 90067
                10   Telephone:    310.552.5000
                11
                     Facsimile:    310.552.5001
                     Email:        todd.nunn@klgates.com
                12                 gene.ryu@klgates.com
                                   carter.norfleet@klgates.com
                13
                     Attorneys for Defendants
                14   HOWMET AEROSPACE INC. and ARCONIC INC
                15
                                           SUPERIOR COURT OF THE STATE OF CALIFORNIA
                16                                FOR THE COUNTY OF ORANGE

                17   PAUL A. STEWART, on behalf of himself and             Case No. 30-2018-00968137-CU-OE-CXC
                     all others similarly situated                         ASSIGNED FOR ALL PURPOSES TO:
                18
                                                                           JUDGE: Hon. Kirk Nakamura
                19            Plaintiff,                                   DEPT: CX103

                20   vs.                                                   STIPULATION TO REQUEST
                                                                           CONTINUANCE OF STATUS
                21   ARCONIC GLOBAL FASTENERS & RINGS,                     CONFERENCE; [PROPOSED] ORDER
                22   INC; a Delaware corporation; ALCOA
                     GLOBAL FASTENERS, INC., a business                    Date: April 23, 2021
                23   form unknown and DOES 1 through 50,                   Time: 9:00 a.m.
                     inclusive,                                            Dept.: CX 103
                24

                25           Defendants.

                26

                27

                28                                                   -I-

                              STIPULATION TO REQUEST CONTINUANCE OF CASE MANAGEMENT CONFERENCE
                     309561132.2
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 100 of 105 Page ID #:175




      1            Plaintiff PAUL A. STEWART ("Plaintiff'') and Defendants ARCONIC GLOBA
      2   FASTENERS & RINGS, INC., and ALCOA GLOBAL FASTENERS, INC. ("Defendants") Uointl
      3   referred herein as the "Parties"), through undersigned counsel, hereby submit this Stipulation t
      4   Request Continuance of Status Conference scheduled for April 23, 2021. This request is based o
      5   the following:
      6            1.      On October 8, 2020, the Parties participated in a second full day mediation wit

      7   mediator Hon. Jay C. Gandhi (Ret) but did not reach a settlement by the end of the mediation.

      8   After continued settlement discussions, with the assistance of Judge Ganhdhi, the Parties hav

      9   reached a settlement in principle of this matter and have exchanged drafts of the proposed forma

     10   settlement agreement. Once the agreement is finalized and executed by the parties, Plaintiff wil

     11   file a motion for preliminary approval with the court.
     12            2.      The Paiiies are also still engaged in discussions regarding Plaintiff's intention to

     13   submit an amended Notice to the Labor Workforce Development Agency and file a secon

     14   amended complaint adding PAGA/class claims. The Parties anticipate finalizing said discussio

     15   and filing a stipulation and proposed second amended complaint within the next ten (10) days.
     16            3.      In light of the foregoing, the parties do not have anything further to report to the

     17   Court on April 23, 2021. As such, in order not to waste the Court's time, the Parties respectfully

     18   request that said status conference be continued to June 4, 2021 or any date thereafter at the

     19   Court's convenience.

     20                                            Respectfully submitted,

     21

     22
          Dated: April 16, 2021                    JAMES HAWKINS, APLC
     23

     24
                                                   /s/Isandra Y Fernandez
     25                                             Isandra Y. Fernandez, Esq.
                                                    Attorneys for Plaintiff
     26                                             PAUL A. STEWART
     27

     28                                                     -2-

                    STIPULATION TO REQUEST CONTINUANCE OF CASE MANAGEMENT CONFERENCE
          309561132.2
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 101 of 105 Page ID #:176




      1   Dated: April 16, 2021             K & L GATES, LLP

      2
                                            ls/Todd Nunn
      3                                     Todd Nunn, Esq.
                                            Eugene C. Ryu
      4                                     Carter L. Norfleet
      5                                     Attorneys for Defendants
                                            ARCONIC GLOBAL FASTENERS & RINGS, INC.
      6                                     ALCOA GLOBAL FASTENERS, INC

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                    STIPULATION TO REQUEST CONTINUANCE OF CASE MANAGEMENT CONFERENCE
          309561132.2
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 102 of 105 Page ID #:177



                                              [PROPOSED] ORDER
      1

      2           Pursuant to the Stipulation made herein and good cause appearing therefore, it is ordered

      3   that the Status Conference scheduled herein for April 23, 2021 is continued to

      4

      5

      6
          Dated: - - - - - -, 2021
      7                                                Hon. Kirk Nakamura
      8

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                   STIPULATION TO REQUEST CONTINUANCE OF CASE MANAGEMENT CONFERENCE
          309561132.2
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 103 of 105 Page ID #:178




      1                          PROOF OF SERVICE, COUNTY OF OR.AJ."\IGE

      2   I am a resident of the State of California, County of Orange. I am over the age of eighteen
          years and not a pa11y to the within action. My business address is 9880 Research Drive., Suite
      3   200, Irvine, California 92618.
      4
          On April 16, 2021, I served on the interested parties in this action the following document(s)
      5   entitled:

      6
      7     - STIPULATIO~ TO REQUEST CONTINUANCE OF STATUS CONFERENCE;
      8       [PROPOSED] ORDER
      9
     10   [XX] BY ELECTRONIC SERVICE: Based on a court Order or an agreement by the parties to
          accept service by e-mail or electronic transmission, I caused the document(s) to be sent from the
     11   email address jocelyn@jamcsbawkinsaplc.com to the persons at the e-mail addresses listed in the
     12   Service List below. I did not receive, within a reasonable time after the transmission, any
          electronic message or other indication that the transmission was unsuccessful.
     13

     14                                           SERVICE LIST
           Spencer Harner, Esq.                         Todd L. Nunn, Esq.
     15
           K&L GATES LLP                                K&L GATES LLP
     16    1 Park Plaza, 12th Floor                     925 Fourth A venue, Suite 2900
           Irvine, CA 92614                             Seattle, WA 98104
     17    Tel: 949-623-3553                            Tel: 206-370-7616
           Fax: 949-253-0902                            Fax: 206-623-7022
     18
           spencer.hamer@klgates.com                    todd.nunn@klgates.com
     19

     20                                     Attorneys for Defendant
                                 ARCONIC GLOBAL FASTENERS & RINGS, INC.
     21
                                   f/kla ALCOA GLOBAL FASTENERS, INC.
     22
     23
          [X] STATE: I declare under penalty of perjury, under the laws of the State of California, that the
     24   above is true and correct.

     25   Executed on April 16, 2021, at Irvine, California.
     26
                                                                      ls/Jocelyn Mateo
     27                                                               Jocelyn Mateo

     28

                                                         - I-

                                                PROOF OF SERVlCE
Case 5:21-cv-01136-DSF-E Document 1-6 Filed 07/07/21 Page 104 of 105 Page ID #:179




           Jeremy F. Bollinger (SBN 240132)
           Dennis F. Moss (SBN 77512)
       2   Ari E. Moss (SBN 238579)
           Kiara Bramasco (SBN 322600)
       3   MOSS BOLLINGER LLP
            15300 Ventura Blvd., Ste. 207
       4   She1man Oaks, California 91403
           Telephone: (310) 982-2984
       5   Facsimile: (818) 963-5954
           jeremy@mossbollinger.com
       6   dennis@mossbollinger.com
           ari@mossbollinger.com
       7   kiara@mossbollinger.com

       8   Attorneys for Plaintiff
           DAVID WALKER
       9
                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
      10
                                        COUNTY OF SAN BERNARDINO
      11

      12   DAVID WALKER, an individual, on behalf of      Case No. CIVDS2022311
           himself and all others similarly situated,
      13                                                  [Assigned for all purposes to Hon. David
                          Plaintiffs,                     Cohn, Dept. S-26]
      14
                  vs.                                     PROOF OF SERVICE
      15
           HOWMET AEROSPACE, INC., a Delaware             Date: June 7, 2021
      16   corporation; SCHLOSSER FORGE                   Time: 10:00 am
           COMPANY, a Delaware corporation; and           Dept: S-26
      17   DOES 1-50,

      18                  Defendants.                     Action Filed: October 13, 2020

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                                              PROOF OF SERVICE
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                                                PROOF OF SERVICE
 2             STATE OF CALIFORNIA, COUNTY OF SAN BERNARDINO
 3           I am employed in the County of Los Angeles, State of California. I am over the age of 18 and
     not a paiiy to the within action; my business address is: 15300 Ventura Blvd, Suite 207, Sherman
 4   Oaks, CA 91403. On April 29, 2021, I served the foregoing document(s) described as:
 5             •    PLAINTIFF DAVID WALKER'S NOTICE OF MOTION AND MOTION FOR
                    LEAVE TO FILE FIRST AMENDED COMPLAINT
 6             •    DECLARATION OF JEREMY F. BOLLINGER IN SUPPORT OF PLAINTIFF'S
                    MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
 7             •    [PROPOSED] ORDER GRANTING LEAVE TO FILE FIRST AMENDED
                    COMPLAINT
 8

 9             on the interested party(ies) below, using the following means:
10             Gene Ryu
               Carter L. Norfleet
11
               K&L Gates LLP
12             10100 Santa Monica Blvd., 8th Floor
               Los Angeles, CA 90067
13             Email: gene.ryu@klgates.com; carter.norfleet@klgates.com
               Attorneys for Defendants Howmet Aerospace, Inc.
14             and Schlosser Forge Company
15
     D BY UNITED STATES MAIL I enclosed the documents in a sealed envelope or package addressed to the
16   respective address(es) of the party(ies) stated above and placed the envelope(s) for collection and
     mailing, following our ordinary business practices. I am readily familiar with the firm's practice of
     collection and processing correspondence for mailing. On the same day that correspondence is placed
17
     for collection and mailing, it is deposited in the ordinary course of business with the United States
18   Postal Service, in a sealed envelope with postage fully prepaid at Los Angeles, California.

19   IZ! BY ELECTRONIC TRANSMISSION. Based on a court order or an agreement of the paiiies to accept service
     by e-mail or electronic transmission, I caused the document(s) to be sent to the respective e-mail
20   address( es) of the patiy(ies) as stated above. I did not receive, within a reasonable time after the
     transmission, any electronic message or other indication that the transmission was unsuccessful.
21
     IZ! (STATE) I declare under penalty of perjury under the laws of the State of California that the foregoing
22   is true and correct.

23             Executed on April 29, 2021 at Los Angeles, California.

24
     Lea Garbe
25   lPrintName of Person Executing Proof]              [Signature]


26

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                                                  PROOF OF SERVICE
